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              U.S. District Court
            Middle District of Florida
                Tampa Division

           GOVERNMENT EXHIBIT

  Exhibit No.: 299

  Case No.: 8:22-cr-259-WFJ-AEP

  UNITED STATES OF AMERICA

  vs.

  OMALI YESHITELA, ET AL.


  Date Identified:                    __________

  Date Admitted:                   ____________
                                Case 8:22-cr-00259-WFJ-AEP            Document 296-279                                Filed 09/17/24                      Page 2 of 49
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Message Date/Time - UTC+00:00
(yyyy/MM/dd)                    Sender            Receiver          Message                                                        Translation/Local Media Path
                                                                    Пришли мне проект ДН, который ты в прошлом годц отправлял
2018/02/05 08:27:25             Egor Popov        Alexander Ionov   в ФПГ                                                          Send me the DN project that you sent to FPG last year
                                                                    Media/79168527258@s.whatsapp.net/f/6/f6a84727-cbde-4ec0-       Media/79168527258@s.whatsapp.net/f/6/f6a84727-cbde-4ec0-afb5-9bb617679aaa.opus
                                                                    afb5-9bb617679aaa.opus
                                                                                                                                   [Audio file]

                                                                                 f6a84727-cbde-4ec0-afb5-9bb617679aaa.opus         And please, how am I going to do it when all questionnaires were filled out uhm… online, on the…
2018/02/05 08:28:08             Alexander Ionov   Egor Popov                                                                       FPG website.
                                                                    Media/79168527258@s.whatsapp.net/e/3/e3349581-f632-4846-
                                                                    89c0-506f34c2d7f6.opus                                         [Audio file]

                                                                                                                                   A [spe]--cial charity fund was filled out only on uhm… paper still. They sent a separate request.

                                                                                 e3349581-f632-4846-89c0-506f34c2d7f6.opus


2018/02/05 08:28:29             Alexander Ionov   Egor Popov
2018/02/05 08:28:37             Alexander Ionov   Egor Popov        И зачем?                                                       And why?
                                                                    Значит пришли проект, чтобы мы предварительно согласовали
                                                                    грант. Не переживай, если получим, то будут у тебя свободные   Well, send the project so we can approve the grant in advance. Don't worry, if we get it, you will
2018/02/05 08:29:25             Egor Popov        Alexander Ionov   средства.                                                      have available funds.
2018/02/05 08:29:45             Alexander Ionov   Egor Popov        Ты хочешь сказать                                              Are you trying to tell me
2018/02/05 08:29:53             Alexander Ionov   Egor Popov        Написать опять проект???                                       To write the project again???
2018/02/05 08:30:08             Alexander Ionov   Egor Popov        Кончиться в итоге одним                                        It will end up in one thing
2018/02/05 08:30:14             Alexander Ionov   Egor Popov        Всех пошлют на Хер                                             They will tell everyone to fuck off
2018/02/05 08:30:19             Alexander Ionov   Egor Popov        [Emoji(s)]                                                     [Emoji(s)]
2018/02/05 08:30:31             Egor Popov        Alexander Ionov   Не факт☝                                                       Not necessarily ☝
2018/02/05 08:30:40             Alexander Ionov   Egor Popov        Егор                                                           Yegor [ICST]
2018/02/05 08:30:54             Alexander Ionov   Egor Popov        Я три раза подавал этот проект                                 I've submitted this project three times
2018/02/05 08:31:05             Alexander Ionov   Egor Popov        Тратил хуеву тучу времени его написать                         I've spent a whole fucking lot of time writing it
2018/02/05 08:31:12             Alexander Ionov   Egor Popov        Там 30 страниц                                                 It has 30 pages
2018/02/05 08:31:14             Alexander Ionov   Egor Popov        Анкета                                                         The application
2018/02/05 08:31:25             Egor Popov        Alexander Ionov   Ты что, мне на 2 листа максимум нужно                          Are you serious, I need two pages maximum.
2018/02/05 08:31:42             Alexander Ionov   Egor Popov        Википедия в помощь                                             Wikipedia is helpful
2018/02/05 08:31:44             Alexander Ionov   Egor Popov        [Emoji(s)]                                                     [Emoji(s)]
2018/02/05 08:31:58             Alexander Ionov   Egor Popov        Что нужно                                                      What do you need
2018/02/05 08:32:03             Alexander Ionov   Egor Popov        Конкретно                                                      Specify
2018/02/05 08:32:06             Alexander Ionov   Egor Popov        ?                                                              ?
2018/02/05 08:32:23             Alexander Ionov   Egor Popov        Анкета                                                         The application
2018/02/05 08:32:28             Alexander Ionov   Egor Popov        Или информация?                                                Or information?
2018/02/05 08:50:11             Egor Popov        Alexander Ionov   100 к будет! В СР- ЧТ готов вручить.                           There will be 100k! I'm ready to hand it in on Wednesday or Thursday.

                                                                    Привет. Я подаю документы 14 февраля. Значит сбор подписей     Hi. I'm submitting the documents on February 14. It means signature gathering goes from April
2018/02/07 14:41:41             Alexander Ionov   Egor Popov        идёт с 20 апреля по 19 октября. 370000 подписи нужны.          20 to October 19. We need 370,000 signatures.
2018/02/07 14:41:53             Alexander Ionov   Egor Popov        Это от Луиса                                                   That's from Luis [PH].
                                                                                                                                   Media/79168527258@s.whatsapp.net/c/2/c22b5253-508b-4908-bd52-7d0f3ea77065.jpg




2018/02/08 06:59:35             Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/c/2/c22b5253-508b-4908-bd52-7d0f3ea77065.jpg
2018/02/08 06:59:49             Alexander Ionov   Egor Popov        Плакаты оплачены                                           The posters are paid for.
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                                                                                                                        Media/79168527258@s.whatsapp.net/2/3/2311a9d4-2c0c-4426-9d9a-7c1f340a69ae.jpg




2018/02/08 07:01:42   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/2/3/2311a9d4-2c0c-4426-9d9a-7c1f340a69ae.jpg
2018/02/08 07:02:22   Egor Popov        Alexander Ionov   Отлично                                                     Awesome.
2018/02/08 07:02:34   Alexander Ionov   Egor Popov        Последнее это баннер                                        The last thing is the banner.
2018/02/08 07:02:43   Alexander Ionov   Egor Popov        2,5 на 2,5 метра                                            2.5 by 2.5 meters.
                                                          В живую или в рулоне можно увидеть? Луис сделает фотки с
2018/02/08 07:03:16   Egor Popov        Alexander Ionov   митинга?                                                    Can I see it live or rolled up? Will Louis make pics from the meeting?
2018/02/08 07:04:38   Alexander Ionov   Egor Popov        Сделаем                                                     We'll do it.
2018/02/08 14:02:27   Egor Popov        Alexander Ionov   Можешь не спешить с отчетом. На сл. неделе скинешь.         You don't have to hurry with the report. Send it next week.
2018/02/08 14:08:26   Alexander Ionov   Egor Popov        Все хорошо!                                                 Everything is OK!
                                                                                                                      Media/79168527258@s.whatsapp.net/a/d/ade5cc60-a45f-48e1-89af-7a9cc1b64ef3.jpg




2018/02/14 11:20:47   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/a/d/ade5cc60-a45f-48e1-89af-7a9cc1b64ef3.jpg
2018/02/14 11:20:56   Alexander Ionov   Egor Popov        Второй платёж за петицию                                     The second payment for the petition
2018/02/14 11:20:59   Alexander Ionov   Egor Popov        Прошёл                                                       went through.
2018/02/14 11:31:23   Alexander Ionov   Egor Popov        Ты жив?                                                      Are you alive?
2018/02/14 12:38:44   Egor Popov        Alexander Ionov   Отлично Да, в норме                                          Awesome. Yes, I'm OK.


                                                                                                                        Media/79168527258@s.whatsapp.net/3/a/3a202aaf-0dab-4ff8-96ff-7dfe225fd547.thumb

                                                                                                                        http://www.sacbee.com/news/politics-government/capitol-alert/article199974074.html




                                                          Media/79168527258@s.whatsapp.net/3/a/3a202aaf-0dab-4ff8-
                                                          96ff-7dfe225fd547.thumb

                                                          http://www.sacbee.com/news/politics-government/capitol-
2018/02/14 14:16:00   Alexander Ionov   Egor Popov        alert/article199974074.html
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                                                                                                                              Media/79168527258@s.whatsapp.net/0/2/0226a4c0-8989-49ee-9bfd-318abdf3371d.jpg




2018/02/14 17:36:38   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/0/2/0226a4c0-8989-49ee-9bfd-318abdf3371d.jpg
2018/02/14 17:36:44   Alexander Ionov   Egor Popov        Офис губернатора                                            The Governor's office.
2018/02/14 17:42:59   Alexander Ionov   Egor Popov        Наши идут                                                   Ours are coming.
2018/02/14 17:43:03   Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2018/02/14 17:44:31   Egor Popov        Alexander Ionov   Так, а фоточки самой акции? Или она еще не прошла?          Well, how about the pictures of the event itself? Or is it not over yet?
2018/02/14 17:44:37   Egor Popov        Alexander Ionov   А это манекен человека?7                                    And is this a human mannequin?7
                                                                                                                      Media/79168527258@s.whatsapp.net/5/8/58d90ee3-4436-4524-9e52-8e8927d1bf61.opus
                                                          Media/79168527258@s.whatsapp.net/5/8/58d90ee3-4436-4524-
                                                          9e52-8e8927d1bf61.opus                                      [Audio file]

                                                                                                                              You are lousy operatives, I must tell you. That's a live person, and the action hasn't started yet.
                                                                    58d90ee3-4436-4524-9e52-8e8927d1bf61.opus                 It's still too early.

2018/02/14 17:45:07   Alexander Ionov   Egor Popov

                                                                                                                              Media/79168527258@s.whatsapp.net/9/0/90ac1cc8-bcb2-49d6-be21-63800919de54.jpg




2018/02/15 07:46:51   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/9/0/90ac1cc8-bcb2-49d6-be21-63800919de54.jpg
2018/02/15 07:48:03   Egor Popov        Alexander Ionov   А почему с внешней стороны?                                 But why from the outside?
2018/02/15 07:48:30   Alexander Ionov   Egor Popov        Чего?                                                       Of what?
2018/02/15 07:48:38   Alexander Ionov   Egor Popov        Там и шествие было                                          There was a demonstration, too.
                                                          Media/79168527258@s.whatsapp.net/9/b/9b88a757-7db5-48a7-    Media/79168527258@s.whatsapp.net/9/b/9b88a757-7db5-48a7-aa09-5992c50f32e3.opus
                                                          aa09-5992c50f32e3.opus
                                                                                                                      [Audio file]

                                                                                                                              Do you even read what you are sent or not? How the event went, and so on. That’s awful.
                                                                      9b88a757-7db5-48a7-aa09-5992c50f32e3.opus



2018/02/15 07:48:48   Alexander Ionov   Egor Popov
2018/02/15 07:48:56   Egor Popov        Alexander Ionov   А внутри?                                                           How about inside?
2018/02/15 07:49:33   Egor Popov        Alexander Ionov   А куда ты прислал описание меоприятия?                              And where did you send the description of the event?

                                                                                                                              Media/79168527258@s.whatsapp.net/1/7/1777fa1e-52e9-4ea6-8662-6bcf16d2631e.opus

2018/02/15 07:50:05   Alexander Ionov   Egor Popov                                                                    [Audio file]
                                                          Media/79168527258@s.whatsapp.net/1/7/1777fa1e-52e9-4ea6-8662-6bcf16d2631e.opus
                                                          Это я читал. Мы уже докладывали. Там указано, что
                                                          мероприятие пройдет в самом здании. Что в итоге, их не      I read that. We already reported. It is stated that the event will take place in the building itself.
2018/02/15 07:50:56   Egor Popov        Alexander Ionov   пустили?                                                    So what ended up happening? They weren't allowed in?
2018/02/15 08:11:53   Alexander Ionov   Egor Popov        А откуда фото                                               And where is the photo from?
2018/02/15 08:12:00   Alexander Ionov   Egor Popov        Входа в кабинет брауна                                      [Of] the entrance to Brown's [PH] office.
2018/02/15 08:12:03   Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
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                                                          Блин, Саш, ну вход в кабинет это не серьезно. Может они на
                                                          жкскурсию туда зашли. Меня интересует «исторический»              Dang it, Sash, the entrance to the office is not serious. Maybe, they went in there on an
2018/02/15 08:14:04   Egor Popov        Alexander Ionov   митинг В ЗДАНИИ ПАРЛАМЕНТА.                                       excursion. I am interested in the "historic" rally IN THE PARLIAMENT BUILDING.
2018/02/15 08:15:25   Alexander Ionov   Egor Popov        Я тебе все пришлю! Как Луис мне отправит отчёт                    I'll send you everything! As soon as Luis sends me a report.
2018/02/15 08:15:35   Egor Popov        Alexander Ionov   Добро!                                                            It sounds good!
2018/02/15 08:15:52   Alexander Ionov   Egor Popov        [Emoji(s)]                                                        [Emoji(s)]

                                                                                                                            Media/79168527258@s.whatsapp.net/6/5/655ba008-6fb3-468a-aa04-0ecb47fd7437.mp4

2018/02/15 08:28:28   Alexander Ionov   Egor Popov                                                                    [Video file]
                                                          Media/79168527258@s.whatsapp.net/6/5/655ba008-6fb3-468a-aa04-0ecb47fd7437.mp4
                                                                                                                      Media/79168527258@s.whatsapp.net/4/0/40b1fb09-763c-4df0-8807-d8eb6946f0cd.jpg




2018/02/15 08:30:51   Egor Popov        Alexander Ionov   Media/79168527258@s.whatsapp.net/4/0/40b1fb09-763c-4df0-8807-d8eb6946f0cd.jpg

                                                                                                                            Media/79168527258@s.whatsapp.net/3/e/3e3dfe75-22f8-48af-b20e-4febd5b89662.jpg




2018/02/15 08:33:13   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/3/e/3e3dfe75-22f8-48af-b20e-4febd5b89662.jpg

2018/02/15 15:03:14   Egor Popov        Alexander Ionov   Саша, очень жду материалы! К утру пришлешь?                 Sasha, I'm really looking forward to the materials! Will you send them in by the morning?
2018/02/15 21:02:43   Alexander Ionov   Egor Popov        Я написал                                                   I wrote
2018/02/15 21:02:45   Alexander Ionov   Egor Popov        Луису                                                       to Luis
2018/02/16 03:59:17   Alexander Ionov   Egor Popov        Жду печатной информации                                     I’m waiting for the printed information
2018/02/16 03:59:20   Alexander Ionov   Egor Popov        Фото есть                                                   I have the photos
2018/02/16 03:59:33   Alexander Ionov   Egor Popov        Они там целый день интервью дают                            They've been giving interviews there all day long.
                                                          Привет! Смотрю, нет пока реакции в СМИ. Как думаешь, есть
                                                          смысл ждать материалы от Луиса на этой неделе? Давай другим Hi! I’m checking. There's no reaction in mass media yet. Do you think it makes sense to wait for
2018/02/16 07:01:52   Egor Popov        Alexander Ionov   отчитаемся! Есть что?)                                      the materials from Louis this week? Let's report to others! Do you have anything?)
2018/02/16 07:02:22   Alexander Ionov   Egor Popov        Они дают интервью                                           They're giving interviews.
2018/02/16 07:02:27   Alexander Ionov   Egor Popov        Я с 7 утра жду                                              I've been waiting since 7 am.
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                                                              PageID 4973
                                                                                                                            Media/79168527258@s.whatsapp.net/b/6/b6a996cd-d07a-49a3-bf14-fd6cd3e28b1c.jpg




2018/02/16 07:02:37   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/b/6/b6a996cd-d07a-49a3-bf14-fd6cd3e28b1c.jpg
                                                          http://thehill.com/homenews/state-watch/374092-california-  http://thehill.com/homenews/state-watch/374092-california-secession-supporters-file-new-
2018/02/16 07:02:50   Alexander Ionov   Egor Popov        secession-supporters-file-new-initiative                    initiative
2018/02/16 07:02:58   Alexander Ionov   Egor Popov        Реакция есть                                                There’s a reaction
2018/02/16 07:03:14   Egor Popov        Alexander Ionov   Эту одну единственную статью я видел.                       I've seen this one and only article.
2018/02/16 07:03:27   Alexander Ionov   Egor Popov        Могу сделать Ухуру и что по Сирии кипишь был                I can do Uhuru and on the turmoil throughout Syria.
2018/02/16 07:03:45   Alexander Ionov   Egor Popov        Я думаю сами СМИ не сразу дадут все                         I don't think the media themselves will post everything at once.
                                                                                                                      Media/79168527258@s.whatsapp.net/8/3/83ecf99f-bd8e-4400-8ac0-d92e73a1b32d.jpg




2018/02/16 07:03:59   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/8/3/83ecf99f-bd8e-4400-8ac0-d92e73a1b32d.jpg
2018/02/16 07:04:01   Egor Popov        Alexander Ionov   Точно, Сирия. Давай ухуру, Сирию сам напишу                  Syria, for sure. Go ahead and do Uhuru. I’ll write on Syria myself.

                                                                                                                            Media/79168527258@s.whatsapp.net/b/1/b1267c55-e4f3-4403-b87e-7c017936b58e.jpg




2018/02/16 07:04:07   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/b/1/b1267c55-e4f3-4403-b87e-7c017936b58e.jpg
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                                                                                                                    Media/79168527258@s.whatsapp.net/4/3/43af7706-4cbc-47eb-9aba-959010d5bd51.jpg




2018/02/16 07:04:19   Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/4/3/43af7706-4cbc-47eb-9aba-959010d5bd51.jpg
                                                                                                                 Media/79168527258@s.whatsapp.net/3/3/33c2db5f-310c-453f-8906-36a3bcbeb19f.jpg




2018/02/16 08:15:28   Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/3/3/33c2db5f-310c-453f-8906-36a3bcbeb19f.jpg

                                                                                                                    Media/79168527258@s.whatsapp.net/1/b/1b70e73d-9a96-4e6c-b070-986b7dfa32db.jpg




2018/02/16 08:15:39   Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/1/b/1b70e73d-9a96-4e6c-b070-986b7dfa32db.jpg
                                                                                                                Media/79168527258@s.whatsapp.net/9/f/9f5d61ef-85ae-4d3e-9265-ac1faaf92903.jpg




2018/02/16 09:20:21   Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/9/f/9f5d61ef-85ae-4d3e-9265-ac1faaf92903.jpg
2018/02/16 09:20:29   Alexander Ionov   Egor Popov   Что тут ещё сказать                                          What more can I say?
2018/02/16 09:20:37   Alexander Ionov   Egor Popov   Такую организацию губим                                      We're ruining such an organization
2018/02/16 09:20:40   Alexander Ionov   Egor Popov   [Emoji(s)]                                                   [Emoji(s)]
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                                                                                                                           Media/79168527258@s.whatsapp.net/4/3/437a7d00-9b2c-4c15-88ea-d1b7080b7df9.jpg




2018/02/23 07:45:13   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/4/3/437a7d00-9b2c-4c15-88ea-d1b7080b7df9.jpg

                                                                                                                           Media/79168527258@s.whatsapp.net/c/c/ccd990f7-cb79-4c5f-9b48-2978eca78471.jpg




2018/02/23 07:45:18   Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/c/c/ccd990f7-cb79-4c5f-9b48-2978eca78471.jpg
2018/02/23 10:22:00   Egor Popov        Alexander Ionov   Спасибо! С праздником!                                       Thank you! Happy holiday!

                                                                                                                           Media/79168527258@s.whatsapp.net/d/5/d509aee1-166d-4dd9-894c-0e2b0b2c7b40.jpg




2018/02/23 10:22:15   Egor Popov        Alexander Ionov   Media/79168527258@s.whatsapp.net/d/5/d509aee1-166d-4dd9-894c-0e2b0b2c7b40.jpg
2018/02/23 10:23:37   Alexander Ionov   Egor Popov        [Emoji(s)]                                                 [Emoji(s)]
                                                          Саш, приедешь сегодня? Мне уже нужен материал для отчета. Will you come today, Sash? I already need the material for the report. I need to write it tonight.
2018/03/06 09:20:33   Egor Popov        Alexander Ionov   Сегодня вечером писать. Неделя короткая♂                   This week is short.
2018/03/06 09:23:07   Alexander Ionov   Egor Popov        Приеду                                                     I’ll come.
2018/03/06 09:23:12   Alexander Ionov   Egor Popov        Куда ехать                                                 Where should I go?
2018/03/06 09:23:14   Alexander Ionov   Egor Popov        Привет                                                     Hi.
2018/03/06 09:25:26   Egor Popov        Alexander Ionov   Нияма, м.Проспект Вернадского♂                             Niyama, Prospekt Vernadskogo metro station.
                                                          А лучше возле метро остановись, я подсяду. Обменяемся
2018/03/06 09:26:29   Egor Popov        Alexander Ionov   бумажками.                                                 Or, better yet, pull over by the metro station. I'll get in. We'll exchange the papers.
2018/03/06 09:27:35   Egor Popov        Alexander Ionov   Только около 17 ч. подъезжай, деньги после обеда будут.    But come around 5:00 p.m. The money will be available in the afternoon.
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                                                     Media/79168527258@s.whatsapp.net/3/3/337c6848-7abd-4292-
                                                     ae1f-af83e4dbef76.thumb
                                                                                                                       Media/79168527258@s.whatsapp.net/3/3/337c6848-7abd-4292-ae1f-af83e4dbef76.thumb
                                                     http://thehill.com/regulation/court-battles/377182-sessions-to-
                                                     california-there-is-no-secession                                  http://thehill.com/regulation/court-battles/377182-sessions-to-california-there-is-no-secession




2018/03/12 16:35:53   Alexander Ionov   Egor Popov
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2018/03/12 17:11:23   Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/0/4/04ec61ac-16b6-4e1a-8fcd-be212ed40a0e.jpg
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2018/03/12 17:11:30   Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/9/f/9f300710-fae1-40b2-afda-c778a3412d39.jpg
2018/03/12 17:11:52   Alexander Ionov   Egor Popov   Ну подкиньте бабла то                                        Well, throw in some more dough though,
2018/03/12 17:11:55   Alexander Ionov   Egor Popov   Ребятам                                                      for the guys
2018/03/12 17:17:40   Alexander Ionov   Egor Popov   Ну                                                           will you?
                      Case 8:22-cr-00259-WFJ-AEP            Document 296-279                               Filed 09/17/24                        Page 10 of 49
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2018/03/12 17:17:43    Alexander Ionov   Egor Popov        [Emoji(s)]                                                        [Emoji(s)]
2018/03/12 17:23:00    Egor Popov        Alexander Ionov   Дай подумать                                                      Let me think.
2018/03/12 17:24:20    Alexander Ionov   Egor Popov        [Emoji(s)]                                                        [Emoji(s)]
                                                           Media/79168527258@s.whatsapp.net/f/3/f331101e-ec27-42ff-
                                                           beb2-1bfc0d7f240e.thumb                                           Media/79168527258@s.whatsapp.net/f/3/f331101e-ec27-42ff-beb2-1bfc0d7f240e.thumb

                                                           https://www.motherjones.com/politics/2018/03/california-          https://www.motherjones.com/politics/2018/03/california-secessionists-are-hoping-for-a-trump-
                                                           secessionists-are-hoping-for-a-trump-bump/                        bump/




2018/03/12 17:59:17    Alexander Ionov   Egor Popov

                                                           https://townhall.com/columnists/derekhunter/2018/03/11/to-hell-   https://townhall.com/columnists/derekhunter/2018/03/11/to-hell-with-california-
2018/03/12 18:13:22    Alexander Ionov   Egor Popov        with-california-n2459678?amp=true&__twitter_impression=true       n2459678?amp=true&__twitter_impression=true
2018/03/12 18:13:31    Alexander Ionov   Egor Popov        Шухер хотел                                                       You wanted turmoil.
2018/03/12 18:13:37    Alexander Ionov   Egor Popov        Вот получи                                                        There you go.



                                                                                                                             Media/79168527258@s.whatsapp.net/2/4/243e06ed-f20c-4697-bf18-f49222a0ab20.jpg




2018/03/13 12:54:19    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/2/4/243e06ed-f20c-4697-bf18-f49222a0ab20.jpg
2018/03/13 13:07:04    Egor Popov        Alexander Ionov   [Emoji(s)]                                                  [Emoji(s)]

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2018/03/13 13:14:54    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/8/d/8d5874d1-2e67-4747-8131-21d14914af16.jpg
                      Case 8:22-cr-00259-WFJ-AEP            Document 296-279                                 Filed 09/17/24                            Page 11 of 49
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2018/03/13 13:14:59                                        Media/79168527258@s.whatsapp.net/7/e/7e97d7cb-d503-493a-
                                                           ae94-2d6bb1300d3a.opus                                            [Audio file]

                                                                                                                             Read the article title.

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                       Alexander Ionov   Egor Popov
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                                                           https://www.usatoday.com/story/opinion/2018/03/13/trump-
                                                           sessions-might-send-federal-troops-california-immigration-laws-   https://www.usatoday.com/story/opinion/2018/03/13/trump-sessions-might-send-federal-
                                                           glenn-reynolds-column/417633002/                                  troops-california-immigration-laws-glenn-reynolds-column/417633002/




2018/03/13 17:14:50    Alexander Ionov   Egor Popov
                                                           Калифорния приняли законы против сотрудничества с США по
2018/03/13 17:16:13    Alexander Ionov   Egor Popov        поводу иммиграцией                                                California has passed laws that prohibit collaboration with the USA in regard to immigration.
                                                           Саш, АБ настаивает на встрече. Можешь завтра вечером к нам
2018/03/13 17:22:08    Egor Popov        Alexander Ionov   подъехать?                                                        Sash, AB insists on a meeting. Can you come over tomorrow evening?
2018/03/13 17:22:26    Alexander Ionov   Egor Popov        А зачем нам встреча?                                              Why do we need a meeting?
2018/03/13 17:22:34    Alexander Ionov   Egor Popov        Отговорить от конференции?)                                       To talk out of the conference?)
2018/03/13 17:22:44    Egor Popov        Alexander Ionov   Видимо♂                                                           Probably ♂.
2018/03/13 17:22:52    Alexander Ionov   Egor Popov        Ну скажи ок                                                       Well, say ok
2018/03/13 17:23:01    Alexander Ionov   Egor Popov        Че мне ехать через всю Москву                                     Why should I go across the entire Moscow?
2018/03/13 17:23:10    Alexander Ionov   Egor Popov        Послушать что все пропало)                                        To hear that everything has been lost)?


                                                                                                                             Media/79168527258@s.whatsapp.net/4/6/46eaf27f-2c17-439d-93b2-860dde3fa4c7.jpg




2018/03/13 21:33:00    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/4/6/46eaf27f-2c17-439d-93b2-860dde3fa4c7.jpg
2018/03/14 17:43:54    Alexander Ionov   Egor Popov        https://vk.com/wall-40316705_24414219                       https://vk.com/wall-40316705_24414219
2018/03/14 17:43:57    Alexander Ionov   Egor Popov        Мой проект                                                  My project.
2018/03/14 17:44:03    Alexander Ionov   Egor Popov        Все члены адр                                               All the members of ADR [PH].
2018/03/14 18:53:18    Alexander Ionov   Egor Popov        Набери как сможешь                                          Call [me] when you can.
2018/03/14 18:53:19    Alexander Ionov   Egor Popov        Завтра                                                      Tomorrow.
                                                           Хорошо. Да, лучше уже завтра) Сегодня не смог, замотался,
2018/03/14 19:03:58    Egor Popov        Alexander Ionov   сорр.!                                                      Alright. Yes, tomorrow would be better). I couldn't today, I was swamped, sorry!
2018/03/16 18:43:04    Alexander Ionov   Egor Popov        Что то я зол на АБУ                                         I'm kind of mad at ABU [PH].
2018/03/16 18:43:15    Alexander Ionov   Egor Popov        Он что то мутит воду                                        He is muddying the waters.
2018/03/16 18:43:36    Alexander Ionov   Egor Popov        Мне это сильно не нравиться                                 I really don't like it.
2018/03/16 18:43:43    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2018/03/16 18:50:44    Egor Popov        Alexander Ionov   Думаю он будет дружелюбен в ВСК))                           I think he will be friendly on Sunday)).
2018/03/16 18:51:19    Alexander Ionov   Egor Popov        Почему?                                                     Why?
2018/03/16 18:51:38    Alexander Ionov   Egor Popov        Просто я могу спалить                                       It's just that I may lose my temper
2018/03/16 18:51:44    Alexander Ionov   Egor Popov        И поругаться                                                and get into a fight.
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                                                           Не надо, человек он хороший, просто не может нам все           Don't. He is a good person, he just can't tell us everything. He himself is restrained by the
2018/03/16 18:55:24    Egor Popov        Alexander Ionov   рассказать. Сам ограничен руководством сверху.                 leadership above.
                                                           Нам порезали деньги, это факт. Другая повестка, другие люди,
2018/03/16 18:56:17    Egor Popov        Alexander Ionov   да много чего.                                                 Our pay has been cut, that's a fact. A different agenda, different people, a lot of things, actually.
                                                           Главное чтоб он был в нормальном настроении, у меня очень      The important thing is for him to be in a decent mood. I have too many problems at the moment.
2018/03/16 18:56:35    Alexander Ionov   Egor Popov        много проблем сейчас. Могу спылить                             I can lose my temper.
2018/03/16 18:56:47    Alexander Ionov   Egor Popov        Я в ночь                                                       I have a night shift.
2018/03/16 18:56:54    Alexander Ionov   Egor Popov        Все пришлю                                                     I'll send everything.
2018/03/16 18:56:59    Alexander Ionov   Egor Popov        Я пока не дома                                                 I'm not home yet.

                                                                                                                          Media/79168527258@s.whatsapp.net/b/6/b6fd2603-cd72-40de-9f9f-b2dea3e2af05.jpg




2018/03/17 10:27:08    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/b/6/b6fd2603-cd72-40de-9f9f-b2dea3e2af05.jpg

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2018/03/17 10:31:17    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/c/b/cb6ca03c-98f8-48dd-93f6-2e68554cd3f3.jpg
                      Case 8:22-cr-00259-WFJ-AEP            Document 296-279                              Filed 09/17/24                       Page 13 of 49
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                                                                                                                           Media/79168527258@s.whatsapp.net/b/e/be9d9a65-674b-42db-8702-c9559843d66f.jpg




2018/03/17 10:31:31    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/b/e/be9d9a65-674b-42db-8702-c9559843d66f.jpg
2018/03/17 10:31:44    Alexander Ionov   Egor Popov        Верхнюю никому                                             Don't show the upper one
2018/03/17 10:31:48    Alexander Ionov   Egor Popov        Не показывай                                               to anyone.
2018/03/17 10:31:52    Alexander Ionov   Egor Popov        Это для тебя                                               This is for you
2018/03/17 10:32:31    Alexander Ionov   Egor Popov        Две нижних для АБДЕЛЬ                                      The two lower ones are for ABDEL [PH]
2018/03/17 10:32:34    Alexander Ionov   Egor Popov        АБ                                                         AB
2018/04/09 12:53:24    Egor Popov        Alexander Ionov   Саша, привет! Завтра встретимся? Только днем☝              Sasha, hi! Shall we meet tomorrow? But in the afternoon ☝.
2018/04/09 12:53:31    Alexander Ionov   Egor Popov        Ну блин                                                    Well, darn it.
2018/04/09 12:53:34    Alexander Ionov   Egor Popov        Егор                                                       Yegor
2018/04/09 12:53:40    Alexander Ionov   Egor Popov        [Emoji(s)]                                                 [Emoji(s)]
2018/04/09 12:53:51    Alexander Ionov   Egor Popov        Я специально приехал на Лубянку                            I came to Lubyanka just for that.
2018/04/09 12:54:07    Egor Popov        Alexander Ionov   Не, сегодня никак                                          No, today is out of the question.
2018/04/09 12:54:13    Alexander Ionov   Egor Popov        Ну блиииииннн                                              Dang.
2018/04/09 12:54:17    Alexander Ionov   Egor Popov        Ну попробуй                                                Please try.
2018/04/09 12:54:19    Egor Popov        Alexander Ionov   Давай в 14 завтра                                          Let's do 2:00 p.m. tomorrow.
2018/04/09 12:54:27    Alexander Ionov   Egor Popov        Ну плизззззззз                                             Well, pleasssssssse.
2018/04/09 12:54:29    Alexander Ionov   Egor Popov        Плиззззз                                                   Pleassssse.
2018/04/09 12:54:34    Alexander Ionov   Egor Popov        Я никогда не просто                                        I just never asked.
2018/04/09 12:54:39    Alexander Ionov   Egor Popov        Не просил                                                  I didn't ask.
2018/04/09 12:54:50    Alexander Ionov   Egor Popov        Просто я обещал офис оплатить                              It just that I promised to pay for the office
2018/04/09 12:54:58    Alexander Ionov   Egor Popov        Завтра тетки меня сожрут                                   Tomorrow the broads will eat me alive.
2018/04/09 12:55:09    Alexander Ionov   Egor Popov        Потому что платёж надо делать в понедельник                Because a payment has to be made on Monday.
2018/04/09 12:55:16    Alexander Ionov   Egor Popov        Чтоб Неделя не выпала                                      In order not to lose the week.
2018/04/09 12:55:25    Alexander Ionov   Egor Popov        Так как плачу сам не от организации                        Since I pay myself, not on behalf of the organization
2018/04/09 12:55:30    Alexander Ionov   Egor Popov        Из за фигни с счетом                                       because of the crap with the account.
2018/04/09 12:55:56    Egor Popov        Alexander Ionov   Ты говорил, что закрыл офис                                You said that you had closed the office.
2018/04/09 12:56:04    Alexander Ionov   Egor Popov        [Emoji(s)]                                                 [Emoji(s)]
2018/04/09 12:56:07    Alexander Ionov   Egor Popov        Нет                                                        No.
2018/04/09 12:56:11    Alexander Ionov   Egor Popov        Я сказал                                                   I said
2018/04/09 12:56:18    Alexander Ionov   Egor Popov        Что возможно его закрою с мая                              that I may close it as of May
2018/04/09 12:56:22    Alexander Ionov   Egor Popov        [Emoji(s)]                                                 [Emoji(s)]
2018/04/09 12:56:31    Alexander Ionov   Egor Popov        Хотя что говорить                                          Although, what can I say?
2018/04/09 12:56:38    Alexander Ionov   Egor Popov        Вы то что я пишу то не запоминает                          You don't remember what I write,
2018/04/09 12:56:46    Alexander Ionov   Egor Popov        А уж что говорю и подавно                                  and even more so what I say.
2018/04/09 12:57:38    Alexander Ionov   Egor Popov        Ну что                                                     So what?
2018/04/09 12:58:04    Alexander Ionov   Egor Popov        Ты жив?                                                    Are you alive?
2018/04/09 12:58:23    Egor Popov        Alexander Ionov   А у меня пока нет денег.                                   I don't have any money yet.
2018/04/09 12:58:41    Alexander Ionov   Egor Popov        [Emoji(s)]                                                 [Emoji(s)]
2018/04/09 12:58:49    Egor Popov        Alexander Ionov   ♂                                                          ♂
2018/04/09 12:58:57    Alexander Ionov   Egor Popov        Врет кто то                                                Someone is lying.
2018/04/09 12:58:59    Alexander Ionov   Egor Popov        [Emoji(s)]                                                 [Emoji(s)]
2018/04/09 12:59:38    Egor Popov        Alexander Ionov   Всмысле. Я же говорю «сегодня никак». Где ложъ?            What do you mean? I am saying, 'Today is out of the question'. Where's the lie?
2018/04/09 12:59:50    Alexander Ionov   Egor Popov        Ты в пятницу сказал                                        You said on Friday,
2018/04/09 12:59:56    Alexander Ionov   Egor Popov        Ладно но завтра                                            Okay, but tomorrow
                                                           Придётся на войковскоц
2018/04/09 13:00:03    Alexander Ionov   Egor Popov        Ц                                                          [We] will have to do it at Voykovskyaya [Metro station].
2018/04/09 13:00:10    Egor Popov        Alexander Ionov   В обед                                                     In the afternoon,
2018/04/09 13:00:18    Egor Popov        Alexander Ionov   В 14 ч.                                                    At 14:00 o'clock.
2018/04/09 13:00:20    Alexander Ionov   Egor Popov        Не суть когда                                              When is not the point.
2018/04/09 13:00:26    Alexander Ionov   Egor Popov        Просто я на лубянку не поеду                               It's just that I won't go to Lubyanka.
2018/04/09 13:00:33    Alexander Ionov   Egor Popov        У меня там встречи                                         I have some meetings there.
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2018/04/09 13:00:41    Alexander Ionov   Egor Popov        Хочешь в офис приезжай                                      If you'd like, come to the office.
2018/04/09 13:00:41    Egor Popov        Alexander Ionov   Хорошо                                                      Alright.
2018/04/09 13:01:12    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2018/04/09 13:01:24    Egor Popov        Alexander Ionov   А правда. Давай в офис приеду. Тогда в 14:30 в офисе        Well, you are right. Let me come to the office. In that case, at 14:30 in the office.
2018/04/09 13:01:32    Alexander Ionov   Egor Popov        А то как то очень много не доверия ко мне                   Because somehow, I don't feel like you trust me much.
2018/04/09 13:02:05    Alexander Ionov   Egor Popov        Это меня начало наводить на плохие мысли                    It got me thinking bad thoughts.
2018/04/09 13:02:09    Alexander Ionov   Egor Popov        Очень плохие                                                Very bad.
2018/04/09 13:06:45    Alexander Ionov   Egor Popov        Адрес ты помнишь?                                           Do you remember the address?
2018/04/09 13:06:58    Alexander Ionov   Egor Popov        В офисе может кто то быть?                                  Can anyone be in the office?
2018/04/09 13:07:08    Alexander Ionov   Egor Popov        Или всех выгнать перед твоим приездом?                      Or should I kick them out before you arrive?
2018/04/09 13:07:56    Egor Popov        Alexander Ionov   Пусть будут, не надо выгонять) Адрес помню                  Let them be. No need to kick them out). I remember the address.



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2018/04/09 13:23:39    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/9/7/9707ad6d-44d7-4fb4-9d5c-63f018d131b6.jpg


                                                                                                                       Media/79168527258@s.whatsapp.net/7/e/7e328bc2-4490-442f-a63e-5712c71db930.jpg




2018/04/09 13:23:54    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/7/e/7e328bc2-4490-442f-a63e-5712c71db930.jpg
2018/04/09 13:24:02    Alexander Ionov   Egor Popov        Вот                                                         That's where
2018/04/09 13:24:06    Alexander Ionov   Egor Popov        Сила где                                                    power is.
2018/04/09 13:24:09    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2018/04/09 13:24:25    Egor Popov        Alexander Ionov   ))                                                          ))
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2018/04/09 13:25:15    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/d/8/d8b52556-c8ab-4053-bdf1-c57044f0a22a.jpg

                                                                                                                              Media/79168527258@s.whatsapp.net/d/7/d77b002a-9643-417d-9ec3-a9221ef8bf44.mp4

2018/04/09 17:48:34    Alexander Ionov   Egor Popov                                                                    [Video file]
                                                           Media/79168527258@s.whatsapp.net/d/7/d77b002a-9643-417d-9ec3-a9221ef8bf44.mp4
2018/04/12 21:46:16    Alexander Ionov   Egor Popov        Егор привет                                                 Hi, Yegor
2018/04/12 21:46:26    Alexander Ionov   Egor Popov        Я отчёт завтра кину                                         I'll send the report tomorrow
2018/04/12 21:46:31    Alexander Ionov   Egor Popov        Прости пожалуйста                                           I'm really sorry
2018/04/13 06:37:49    Alexander Ionov   Egor Popov        https://www.ridus.ru/news/274620                            https://www.ridus.ru/news/274620
2018/04/13 06:44:47    Egor Popov        Alexander Ionov   [Emoji(s)]                                                  [Emoji(s)]
2018/04/13 06:45:05    Alexander Ionov   Egor Popov        А все на меня гнали                                         And everyone was coming down hard on me
2018/04/13 06:45:10    Alexander Ionov   Egor Popov        Я прав был                                                  I was right
                                                           Саша, 14 апреля стартует сбор подписей в Калифорнии? Мне на
2018/04/13 06:45:13    Egor Popov        Alexander Ionov   почту пришло уведомлене.                                    Does signature collection in California start on April 14, Sasha? I got a notification in the mail.
2018/04/13 06:45:21    Alexander Ionov   Egor Popov        Да                                                          Yes
2018/04/13 06:45:31    Alexander Ionov   Egor Popov        Реально с 16                                                Starting the 16th, actually
2018/04/13 06:45:43    Egor Popov        Alexander Ionov   Что по этому поводу говорят в движении?                     What do those in the Movement say about it?
2018/04/13 06:45:52    Egor Popov        Alexander Ionov   У них есть деньги на начало?                                Do they have money to get started?
2018/04/13 06:45:53    Alexander Ionov   Egor Popov        Готовят активистов                                          They are preparing activists
2018/04/13 06:45:59    Alexander Ionov   Egor Popov        На начала есть                                              They have enough to get started
2018/04/13 06:46:08    Alexander Ionov   Egor Popov        Но денег в целом нет                                        But on the whole, there is no money
2018/04/13 06:46:18    Alexander Ionov   Egor Popov        Сейчас озадачены                                            Currently, [they are] baffled
                                                           Сбором средств но жертвуют очень мало, в среднем он сказал
2018/04/13 06:46:43    Alexander Ionov   Egor Popov        30 баксов                                                   by the collection of funds but donations are small, on average, he said, 30 bucks.
                                                           И что делать? Он пошел к бизнесу Силиконовой долины?
2018/04/13 06:46:50    Egor Popov        Alexander Ionov   Северный Джефферсон помогает?                               So what can they do? Did he go to the Silicon Valley business? Is Northern Jefferson helping?
2018/04/13 06:47:56    Alexander Ionov   Egor Popov        Джефферсон помогает                                         Jefferson is helping
2018/04/13 06:48:00    Alexander Ionov   Egor Popov        Бизнес нет                                                  Business is not
2018/04/13 06:48:17    Alexander Ionov   Egor Popov        Но Джефферсон помогает активом своим                        But Jefferson is helping with its assets
2018/04/13 06:48:24    Alexander Ionov   Egor Popov        Я сегодня пришлю все                                        I will send everything today
2018/04/13 07:12:55    Egor Popov        Alexander Ionov   Эванс дал интервью Fox news!                                Evans gave an interview to Fox news !
                      Case 8:22-cr-00259-WFJ-AEP            Document 296-279                               Filed 09/17/24                       Page 16 of 49
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                                                                                                                           Media/79168527258@s.whatsapp.net/1/2/12fb0f79-d580-4427-a533-09abe9564d52.jpg




2018/04/13 07:13:13    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/1/2/12fb0f79-d580-4427-a533-09abe9564d52.jpg
2018/04/13 07:13:16    Alexander Ionov   Egor Popov        Дал                                                         [He] gave
2018/04/13 07:13:35    Alexander Ionov   Egor Popov        Вот оно                                                     Here it is
2018/04/13 07:13:38    Alexander Ionov   Egor Popov        А что?                                                      So what?

2018/04/13 07:17:37    Egor Popov        Alexander Ionov   Про Калифорнию в отчете можешь не писать. Я все нашел.          You don't have to write about California in the report. I have found it all.
2018/04/13 07:35:07    Alexander Ionov   Egor Popov        Оке                                                             Okay
2018/04/19 06:39:06    Alexander Ionov   Egor Popov        Луис как пулемет                                                Louis is like a machine gun.
2018/04/19 06:39:16    Alexander Ionov   Egor Popov        Новую информацию присылает                                      He's sending me some new information
                                                           Привет! Хорошо, пусть досылает. Пришли до обеда что есть,       Hi! Good, let him send it. Send me what you have before lunch. I need to start preparing the
2018/04/19 06:50:42    Egor Popov        Alexander Ionov   нужно уже готовить документ.                                    document.
2018/04/19 06:51:00    Alexander Ionov   Egor Popov        Хорошо                                                          All right.
2018/04/19 06:51:05    Alexander Ionov   Egor Popov        Ты выздоровел?                                                  Did you get well?
2018/04/19 06:51:34    Egor Popov        Alexander Ionov   Неа Борюсь                                                      Nuh-uh. I'm battling.
2018/04/19 06:51:47    Alexander Ionov   Egor Popov        Сумамед помогает                                                Sumamed helps.
2018/04/19 06:51:58    Alexander Ionov   Egor Popov        Иначе неделями будут сопли                                      Otherwise, I will have a runny nose for weeks to come.
2018/04/19 06:52:02    Alexander Ionov   Egor Popov        И слабость                                                      And I'll be weak.
2018/04/19 06:58:32    Egor Popov        Alexander Ionov   Нельзя антибиотики☝Но все равно спасибо☺                        Antibiotics are a no-no ☝. But thanks anyway☺.
2018/04/19 07:01:24    Alexander Ionov   Egor Popov        Ну хз. Ладно я на лубянку писать                                Who the fuck knows? Okay, I'm off to Lubyanka to write,
2018/04/19 07:01:30    Alexander Ionov   Egor Popov        Дописывать отчёт                                                to finish up the report.
2018/04/19 07:01:42    Alexander Ionov   Egor Popov        И Луис опять клянчит бабло                                      And Louis is begging for dough again.
2018/04/19 07:01:56    Alexander Ionov   Egor Popov        Плюс я их уломал на пресс конференцию                           Besides, I talked them into a press conference.
                                                           Media/79168527258@s.whatsapp.net/2/d/2d8e963b-3a9a-4441-
                                                           a14a-d1bc24aef83c.thumb                                         Media/79168527258@s.whatsapp.net/2/d/2d8e963b-3a9a-4441-a14a-d1bc24aef83c.thumb

                                                           http://www.kron4.com/news/california/california-independence-   http://www.kron4.com/news/california/california-independence-backers-can-collect-
                                                           backers-can-collect-signatures/1136580770                       signatures/1136580770




2018/04/24 12:43:08    Alexander Ionov   Egor Popov
                                                           https://www.cnbc.com/2018/04/24/calexit-plan-to-divorce-        https://www.cnbc.com/2018/04/24/calexit-plan-to-divorce-california-from-us-is-getting-a-
2018/04/24 12:43:08    Alexander Ionov   Egor Popov        california-from-us-is-getting-a-second-chance.html              second-chance.html
                      Case 8:22-cr-00259-WFJ-AEP       Document 296-279                                Filed 09/17/24                       Page 17 of 49
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                                                      Media/79168527258@s.whatsapp.net/d/e/de5b922c-0a4a-4800-
                                                      bb03-02c88b3c7fa5.thumb                                           Media/79168527258@s.whatsapp.net/d/e/de5b922c-0a4a-4800-bb03-02c88b3c7fa5.thumb

                                                      http://www.charlotteobserver.com/news/politics-                   http://www.charlotteobserver.com/news/politics-government/national-
                                                      government/national-politics/article209664169.html                politics/article209664169.html




2018/04/24 12:43:08    Alexander Ionov   Egor Popov

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                                                      95e7-9a6eb630b29a.thumb
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                                                      http://www.bakersfield.com/ap/state/california-independence-
                                                      backers-can-collect-signatures/article_315249a1-7b3e-5aa4-888b-   http://www.bakersfield.com/ap/state/california-independence-backers-can-collect-
                                                      55616e06784c.html                                                 signatures/article_315249a1-7b3e-5aa4-888b-55616e06784c.html




2018/04/24 12:43:08    Alexander Ionov   Egor Popov

                                                      Media/79168527258@s.whatsapp.net/9/2/926e8bc3-7104-4071-
                                                      9ac3-2be10335102f.thumb                                           Media/79168527258@s.whatsapp.net/9/2/926e8bc3-7104-4071-9ac3-2be10335102f.thumb

                                                      https://www.nbcbayarea.com/news/local/California-Independence- https://www.nbcbayarea.com/news/local/California-Independence-Backers-Can-Collect-
                                                      Backers-Can-Collect-Signatures-480617731.html                  Signatures-480617731.html




2018/04/24 12:43:08    Alexander Ionov   Egor Popov
                                                      Media/79168527258@s.whatsapp.net/3/8/3850e421-7444-42e3-
                                                      9dee-e404c044c651.thumb
                                                                                                                        Media/79168527258@s.whatsapp.net/3/8/3850e421-7444-42e3-9dee-e404c044c651.thumb
                                                      https://www.washingtontimes.com/news/2018/apr/23/california-
                                                      independence-backers-can-collect-                                 https://www.washingtontimes.com/news/2018/apr/23/california-independence-backers-can-
                                                      signat/?utm_source=RSS_Feed&utm_medium=RSS                        collect-signat/?utm_source=RSS_Feed&utm_medium=RSS




2018/04/24 12:43:08    Alexander Ionov   Egor Popov
                      Case 8:22-cr-00259-WFJ-AEP       Document 296-279                                 Filed 09/17/24                   Page 18 of 49
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                                                      Media/79168527258@s.whatsapp.net/e/c/ecbc6baa-4bdc-4513-
                                                      a47f-db58951a5f50.thumb
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                                                      https://www.sacbee.com/news/state/california/article209664169.ht
                                                      ml                                                               https://www.sacbee.com/news/state/california/article209664169.html




2018/04/24 12:43:08    Alexander Ionov   Egor Popov
                                                      Media/79168527258@s.whatsapp.net/7/d/7d58fbf8-7146-4932-
                                                      8362-a5c6b93b19f4.thumb                                        Media/79168527258@s.whatsapp.net/7/d/7d58fbf8-7146-4932-8362-a5c6b93b19f4.thumb

                                                      http://www.breitbart.com/california/2018/04/24/calexit-iii-    http://www.breitbart.com/california/2018/04/24/calexit-iii-california-independence-advocates-
                                                      california-independence-advocates-can-collect-signatures/      can-collect-signatures/




2018/04/24 12:43:08    Alexander Ionov   Egor Popov

                                                      Media/79168527258@s.whatsapp.net/0/4/0475dc29-e8ce-4766-
                                                      b23c-fb254e16eaf1.thumb                                        Media/79168527258@s.whatsapp.net/0/4/0475dc29-e8ce-4766-b23c-fb254e16eaf1.thumb

                                                      https://www.nbclosangeles.com/news/local/California-           https://www.nbclosangeles.com/news/local/California-Independence-Backers-Can-Collect-
                                                      Independence-Backers-Can-Collect-Signatures-480617731.html     Signatures-480617731.html




2018/04/24 12:43:08    Alexander Ionov   Egor Popov
                                                      Media/79168527258@s.whatsapp.net/7/d/7d215fa6-39cb-4dde-
                                                      8997-b7bca1fae61b.thumb
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                                                      http://fox40.com/2018/04/23/california-independence-backers-can-
                                                      collect-signatures/                                              http://fox40.com/2018/04/23/california-independence-backers-can-collect-signatures/




2018/04/24 12:43:08    Alexander Ionov   Egor Popov
                      Case 8:22-cr-00259-WFJ-AEP            Document 296-279                               Filed 09/17/24                       Page 19 of 49
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                                                           Media/79168527258@s.whatsapp.net/9/1/91ff12d1-1db1-4098-
                                                           9f93-096fd83fe308.thumb                                          Media/79168527258@s.whatsapp.net/9/1/91ff12d1-1db1-4098-9f93-096fd83fe308.thumb

                                                           http://www.star-telegram.com/news/politics-government/national- http://www.star-telegram.com/news/politics-government/national-
                                                           politics/article209664169.html                                  politics/article209664169.html




2018/04/24 12:43:08    Alexander Ionov   Egor Popov
                                                           Media/79168527258@s.whatsapp.net/2/3/235e8cb1-2135-4dd2-
                                                           a193-fff0004bd886.thumb                                          Media/79168527258@s.whatsapp.net/2/3/235e8cb1-2135-4dd2-a193-fff0004bd886.thumb

                                                           https://www.scpr.org/news/2018/04/23/82495/california-           https://www.scpr.org/news/2018/04/23/82495/california-independence-backers-approved-to-
                                                           independence-backers-approved-to-start/                          start/




2018/04/24 12:43:08    Alexander Ionov   Egor Popov
2018/04/24 12:43:18    Alexander Ionov   Egor Popov        Ебанули хорошо                                                   [We][They] fucked well
2018/04/24 12:43:32    Alexander Ionov   Egor Popov        Это все калифорния                                               It's all California
                                                           http://www.kubaradio.com/2018/04/24/californians-seeking-        http://www.kubaradio.com/2018/04/24/californians-seeking-independence-from-u-s-can-collect-
2018/04/24 12:44:13    Alexander Ionov   Egor Popov        independence-from-u-s-can-collect-signatures/                    signatures/

2018/04/26 15:48:27    Egor Popov        Alexander Ionov   Это все замечательно. Ты мне пришлешь сегодня документ?          It's all great. Will you send me the document today?
2018/04/26 15:48:35    Egor Popov        Alexander Ionov   Привет                                                           Hi
2018/04/26 15:48:46    Alexander Ionov   Egor Popov        Привет                                                           Hi
2018/04/26 15:48:51    Alexander Ionov   Egor Popov        Вечером пришлю                                                   I'll send [it] tonight
                                                                                                                            Media/79168527258@s.whatsapp.net/8/9/891d074b-6201-49f8-bf30-dc8dd2588784.jpg




2018/04/26 19:36:18    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/8/9/891d074b-6201-49f8-bf30-dc8dd2588784.jpg
2018/04/26 19:36:43    Alexander Ionov   Egor Popov        Все работа в одной картинке                                 All the work in one picture
2018/04/26 19:36:49    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2018/04/26 19:39:30    Egor Popov        Alexander Ionov   Троллишь                                                    You are trolling
2018/04/26 19:39:53    Alexander Ionov   Egor Popov        Они походу за вами шпионят                                  It looks like they are spying on you
2018/04/26 19:40:00    Alexander Ionov   Egor Popov        Раз раскрыли                                                Since [they] have found out
2018/04/26 19:40:04    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2018/06/28 11:06:55    Alexander Ionov   Egor Popov        но когда АБ говорит что я сам лох                           But when AB says I am a sucker myself
2018/06/28 11:07:02    Alexander Ionov   Egor Popov        и пропустил такую уткуъ                                     and overlooked such a canard,
2018/06/28 11:07:12    Alexander Ionov   Egor Popov        у меня тут потенция на работу падает                        my potential for work goes down.
2018/06/28 11:07:20    Egor Popov        Alexander Ionov   Да забей, он так всем говорит. Ему можно, он босс.          Well, never mind. That's what he tells everyone. He can, he's the boss.
2018/08/21 07:37:08    Alexander Ionov   Egor Popov        У нас вчера                                                 Yesterday we
2018/08/21 07:37:13    Alexander Ionov   Egor Popov        Были спец мероприятия                                       held some special events
2018/08/21 07:37:17    Alexander Ionov   Egor Popov        С Лешей                                                     with Lesha [ICST].
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2018/08/21 07:37:20    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/08/21 07:37:39    Egor Popov        Alexander Ionov   Как это?                                                         How's that?
2018/08/21 07:38:04    Alexander Ionov   Egor Popov        Вчера накрыли одну секту                                         Yesterday we busted one sect.
2018/08/21 07:38:17    Alexander Ionov   Egor Popov        Мы туда свозили камеры                                           We were taking cameras there.
2018/08/21 07:46:17    Egor Popov        Alexander Ionov   Тебя АБ просил?                                                  Did AB ask you [for it]?
2018/08/21 07:46:24    Alexander Ionov   Egor Popov        Неа                                                              Nuh-uh
2018/08/21 07:46:29    Alexander Ionov   Egor Popov        Алексей                                                          Aleksey [ICST]
2018/08/21 07:46:42    Alexander Ionov   Egor Popov        Я попросил РТ туда выехать                                       I asked RT to head over there
2018/08/21 07:46:46    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/08/21 07:46:48    Egor Popov        Alexander Ionov   Больше ничего не делай без меня или АБ.                          Don't do anything without me or AB anymore.
2018/08/21 07:46:57    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/08/21 07:47:02    Alexander Ionov   Egor Popov        Почему                                                           Why
2018/08/21 07:47:21    Alexander Ionov   Egor Popov        Думаешь как с родченковым может быть?                            Do you think what happened to Rodchenkov [ICST] may happen again?
                                                           Потому что за работу с тобой отвечаю только я. АБ                Because I am the only person responsible for working with you. AB oversees and manages
2018/08/21 07:48:19    Egor Popov        Alexander Ionov   осуществляет общее руководство. Остальные тебе никто.            everything . The others are nobody to you.
2018/08/21 07:48:32    Egor Popov        Alexander Ionov   Я просил только консультировать Лешу по отчету.                  I only asked to consult with Lesha on a report.
2018/08/21 07:48:45    Alexander Ionov   Egor Popov        Ну хорошо                                                        Okay then
                                                           Это важные внутренние формальности. Не нарушай этого плз.        These are important internal formalities. Please do not violate them. This can have serious
2018/08/21 07:49:09    Egor Popov        Alexander Ionov   Это может иметь серьезные последствия.                           consequences.
2018/08/21 07:49:31    Alexander Ionov   Egor Popov        По вам властелин колец плачет                                    The Lord of the Ring is crying for you
2018/08/21 07:49:37    Alexander Ionov   Egor Popov        Чистые орет                                                      Pure Orcs
2018/08/21 07:49:39    Alexander Ionov   Egor Popov        Орки                                                             Orcs
2018/08/21 07:49:42    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/08/21 07:50:10    Alexander Ionov   Egor Popov        Я думаю Леша с АБ мог согласовать                                I think Lesha could have coordinated it with AB
2018/08/21 07:50:19    Alexander Ionov   Egor Popov        Просто он вчера активно начал писать                             It's just he started writing vigorously yesterday
2018/08/21 07:50:24    Alexander Ionov   Egor Popov        В 22                                                             At 22
2018/08/21 07:50:46    Alexander Ionov   Egor Popov        Типа надо дать в СМИ И так далее                                 He was like, we need to share it with the mass media, et cetera.
2018/08/21 07:51:14    Alexander Ionov   Egor Popov        Вообщем странная история                                         Basically, it's a weird story
                                                           По-идее даже АБ не имеет права непосредственно с тобой
                                                           работать, слышишь? Все только через меня. Тем более какой-то     Theoretically, even AB has no right to work with you directly, do you hear me? Everything is only
2018/08/21 07:52:08    Egor Popov        Alexander Ionov   там Леша.                                                        done through me. Especially, when it comes to some Lesha.
2018/08/21 07:52:43    Alexander Ionov   Egor Popov        Блять                                                            Fuck
2018/08/21 07:53:04    Egor Popov        Alexander Ionov   Например, за вашу работу в Сочи отвечал и докладывал я.          For example, I was responsible for your work in Sochi and I reported on that.
2018/08/21 07:53:16    Egor Popov        Alexander Ionov   И было много проблем, поверь                                     And there were a lot of issues, believe me

2018/08/21 07:53:25    Alexander Ionov   Egor Popov        Ладно, разбирайтесь сами я Леше скажу что только по отчету       Okay, sort it out by yourselves, I will tell Lesha that a report is the only thing
2018/08/21 07:53:37    Alexander Ionov   Egor Popov        Все остальное с тобой пусть решает                               As for everything else, he should take care of it with you
2018/08/21 07:53:43    Egor Popov        Alexander Ionov   Да                                                               Yes
2018/08/21 07:53:51    Alexander Ionov   Egor Popov        У вас там анархия                                                You have anarchy out there
2018/08/21 07:54:25    Egor Popov        Alexander Ionov   В том то и дело, что у нас система.                              That's the thing, we have a system.
2018/08/21 07:55:26    Alexander Ionov   Egor Popov        Система нипель. Ты тогда Леше скажи                              The system is lame. You go ahead and let Lesha know
2018/08/21 07:55:41    Alexander Ionov   Egor Popov        Что только подотчётную                                           That only when it comes to a report
                                                           Я ему не буду ничего говорить. И ты не говори. Просто всегда
2018/08/21 07:56:02    Egor Popov        Alexander Ionov   отсылай ко мне.                                                  I won't tell him anything. And you don't say anything. Just always send over to me.
                                                           https://www.mk.ru/incident/2018/08/25/sotrudnik-fsb-zaderzhan-   https://www.mk.ru/incident/2018/08/25/sotrudnik-fsb-zaderzhan-s-8-kg-narkotikov-v-
2018/08/26 09:36:13    Alexander Ionov   Egor Popov        s-8-kg-narkotikov-v-volgograde.html                              volgograde.html
2018/08/26 09:36:19    Alexander Ionov   Egor Popov        Я переживаю                                                      I'm worried
2018/08/26 09:36:22    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/08/26 12:42:24    Egor Popov        Alexander Ionov   Все нормально                                                    Everything is OK.
2018/08/26 12:42:29    Egor Popov        Alexander Ionov   Это не я                                                         It's not me.
2018/08/26 12:42:42    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/10/12 09:09:33    Egor Popov        Alexander Ionov   Привет! Слушай, а я не увидел твоего включения по скайп          Hi! Look, I didn't see you join via Skype.
2018/10/12 09:09:49    Alexander Ionov   Egor Popov        Где?                                                             Where?
2018/10/12 09:10:01    Egor Popov        Alexander Ionov   В видео                                                          In the video.
2018/10/12 09:10:10    Egor Popov        Alexander Ionov   Ухуру                                                            Uhuru.
2018/10/12 09:10:13    Egor Popov        Alexander Ionov   Конгресс                                                         The Congress.
2018/10/12 09:10:20    Alexander Ionov   Egor Popov        Я первую часть отправил                                          I sent the first part.
2018/10/12 09:10:24    Alexander Ionov   Egor Popov        А оно во второй                                                  But it's in the second.
2018/10/12 09:10:34    Alexander Ionov   Egor Popov        Хочешь я тебе видео скину                                        Do you want me to send you the video?
2018/10/12 09:10:40    Alexander Ionov   Egor Popov        Фома                                                             [Doubting] Thomas.
2018/10/12 09:12:20    Egor Popov        Alexander Ionov   И во второй не увидел, там какой-то нигер в кепке                I didn’t see it in the second one either. There's a nigger wearing a baseball cap there.
2018/10/12 09:12:32    Alexander Ionov   Egor Popov        Давай почту                                                      Give me your email address.
2018/10/12 09:12:33    Egor Popov        Alexander Ionov   По скайпу и все. Скажи на какой минуте.                          Via Skype and that's it. Tell me on what minute.
2018/10/12 09:12:48    Egor Popov        Alexander Ionov   У меня есть видео, на какой минуте?                              I have the video. On what minute?
2018/10/12 09:12:54    Alexander Ionov   Egor Popov        Я Фаиз перешлю                                                   I'll send it over to Faiz [PH].
2018/10/12 09:12:59    Alexander Ionov   Egor Popov        С видел                                                          With the videl [sic].
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2018/10/12 09:13:06    Alexander Ionov   Egor Popov        С видео                                                          With the video.
2018/10/12 09:13:36    Alexander Ionov   Egor Popov        Ну                                                               Well?


                                                           У меня есть видео
                                                           https://www.facebook.com/BurningSpearNews/videos/3115469229
                                                           75814/?__tn__=kC-
                                                                                                                       I have the video
                                                           R&eid=ARBqY9XXPiR69CzCe5BpmR7Mt5aEegB_xrhzbleWcZMyoVey
                                                           5cSkbIsgIf1EOaUyGYOdavnSxjKf_2TD&hc_ref=ARR1OGzAuUQADyZ https://www.facebook.com/BurningSpearNews/videos/311546922975814/?__tn__=kC-
                                                           mqBnwEEg4kCJK0rKaNm47jwRTEm6Mn_dVZ4SOP6HNc7orfxtZatg& R&eid=ARBqY9XXPiR69CzCe5BpmR7Mt5aEegB_xrhzbleWcZMyoVey5cSkbIsgIf1EOaUyGYO
                                                           __xts__[0]=68.ARD8bbjEmTGUQpWmy5mx5K_NEB_TwcGiY-            davnSxjKf_2TD&hc_ref=ARR1OGzAuUQADyZmqBnwEEg4kCJK0rKaNm47jwRTEm6Mn_dVZ
                                                           w4vQIY4ZKx9wms8i24d4g9KjFHqHj27A_6wmavtEO93RauwfL0naqOz 4SOP6HNc7orfxtZatg&__xts__[0]=68.ARD8bbjEmTGUQpWmy5mx5K_NEB_TwcGiY-
                                                           2CCQkCIkd2FzpduXjk3Xsn3d4gv1tpZPZ-                          w4vQIY4ZKx9wms8i24d4g9KjFHqHj27A_6wmavtEO93RauwfL0naqOz2CCQkCIkd2FzpduXjk
2018/10/12 09:14:12    Egor Popov        Alexander Ionov   qcibBrL66F4LAE5n5SlBvF_uscNXJ6bNQFePOFJ22Psv5V0_STgkYDQ9P 3Xsn3d4gv1tpZPZ-qcibBrL66F4LAE5n5SlBvF_uscNXJ6bNQFePOFJ22Psv5V0_STgkYDQ9P
2018/10/12 09:14:23    Alexander Ionov   Egor Popov        Ты достал меня                                              I'm fed up with you.
2018/10/12 09:14:28    Alexander Ionov   Egor Popov        Там 6 частей                                                There are six parts there.
2018/10/12 09:14:33    Alexander Ionov   Egor Popov        По два часа                                                 Two hours each.
2018/10/12 09:14:48    Alexander Ionov   Egor Popov        Ты все посмотрел?                                           Have you watched it all?

                                                                                                                            Media/79168527258@s.whatsapp.net/9/7/97abdda0-3081-4d34-ac20-0a2d1c09535d.jpg

                                                                                                                            That is the second part.




                                                           Media/79168527258@s.whatsapp.net/9/7/97abdda0-3081-4d34-
                                                           ac20-0a2d1c09535d.jpg

2018/10/12 09:15:00    Egor Popov        Alexander Ionov   Это вторая часть
2018/10/12 09:15:31    Alexander Ionov   Egor Popov        И что                                                         So what?
2018/10/12 09:15:48    Egor Popov        Alexander Ionov   Какая минута? Ты сказал во второй части.                      What minute? You said it was in the second part.
2018/10/12 09:15:55    Alexander Ionov   Egor Popov        Не помню                                                      I can’t remember.
2018/10/12 09:16:15    Egor Popov        Alexander Ionov   Вспомни, мне нужно для отчета                                 Try to remember, I need it for the report.
2018/10/12 09:16:33    Alexander Ionov   Egor Popov        Я выступаю там третий год                                     This is the third year I’ve been speaking there
2018/10/12 09:16:57    Alexander Ionov   Egor Popov        Они пришлют письмо с благодарностью                           They'll send a thank-you letter.
2018/10/12 09:17:14    Alexander Ionov   Egor Popov        Я не буду сейчас заново просматривать все видео               I'm not going to re-watch all the videos now.
2018/10/12 09:17:37    Egor Popov        Alexander Ionov   Всмысле?!                                                     What do you mean?!
2018/10/12 09:17:41    Alexander Ionov   Egor Popov        Я не понимаю откуда такое недоверие                           I don't understand where this distrust comes from.
                                                           У них в facebook опубликовано 3 части. Я прокрутил все, нигде They have three parts posted on Facebook. I've played them all, and you're nowhere to be
2018/10/12 09:19:05    Egor Popov        Alexander Ionov   тебя нет. Как это понимать?                                   found. How am I supposed to understand it?
2018/10/12 09:19:29    Alexander Ionov   Egor Popov        Никак                                                         You’re not.
2018/10/12 09:19:35    Alexander Ionov   Egor Popov        Я точно выступал                                              I gave a speech for sure.
2018/10/12 09:19:53    Alexander Ionov   Egor Popov        Видео я отправил 20 сентября                                  I sent the video on September 20.
2018/10/12 09:20:02    Alexander Ionov   Egor Popov        Пени мне писала каждый день                                   Penny [PH] wrote to me every day.
2018/10/12 09:20:43    Egor Popov        Alexander Ionov   Его могли не включить?                                        Is it possible that they didn't include it?
                                                           Я даже нанимал двух операторов за 4 к чтоб они быстро сняли и
2018/10/12 09:20:50    Alexander Ionov   Egor Popov        отправили                                                     I even hired two camera men for 4K so they could film it quickly and send it.
2018/10/12 09:20:54    Alexander Ionov   Egor Popov        Нет не могли                                                  No, it's impossible.
2018/10/12 09:20:59    Alexander Ionov   Egor Popov        Она мне звонила                                               She called me.
2018/10/12 09:21:10    Alexander Ionov   Egor Popov        Стояла рядом с омали                                          She was standing next to Omali
2018/10/12 09:21:16    Alexander Ionov   Egor Popov        И благодарила за все                                          and thanking for everything.
2018/10/12 09:21:19    Egor Popov        Alexander Ionov   Свяжись с ними, попроси кусок с твоим выступлением.           Get in touch with them and ask for the fragment with your speech.
2018/10/12 09:21:23    Egor Popov        Alexander Ionov   Это важно                                                     This is important.
2018/10/12 09:21:33    Alexander Ionov   Egor Popov        Плюс омали попросил в Москву приехать                         Besides, Omali asked to come to Moscow.
2018/10/12 09:22:54    Egor Popov        Alexander Ionov   А с чего ты взял, что частей 6?                               What made you think that there were six parts?
2018/10/12 09:23:12    Alexander Ionov   Egor Popov        У бородатого на странице 6 частей                             The bearded man has six parts on his page
2018/10/12 09:23:33    Alexander Ionov   Egor Popov        Плюс когда я писал отчёт                                      Besides, when I was writing the report,
2018/10/12 09:23:39    Alexander Ionov   Egor Popov        Шёл прямой эфир                                               there was a live broadcast.
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2018/10/12 09:23:48    Alexander Ionov   Egor Popov        Продолжение конгресса                                            The continuation of the Congress.
2018/10/12 09:24:01    Alexander Ionov   Egor Popov        Значит ещё будет минимум два три видео                           So, there will be at least two or three more videos.
2018/10/12 09:24:25    Alexander Ionov   Egor Popov        То что я там выступишь                                           The fact that I spoke there
2018/10/12 09:24:30    Alexander Ionov   Egor Popov        Выступил                                                         spoke
2018/10/12 09:24:36    Alexander Ionov   Egor Popov        Даже не обсуждается                                              is not even being discussed.
2018/10/12 09:24:50    Alexander Ionov   Egor Popov        Меня пени заебала до нельзя с этим видео                         Penny fucking annoyed me to death with this video.
2018/10/12 09:25:44    Alexander Ionov   Egor Popov        Я могу тебе его переслать                                        I can forward it to you
2018/10/12 09:58:16    Alexander Ionov   Egor Popov        Я написал                                                        I wrote

                                                                                                                            Media/79168527258@s.whatsapp.net/4/1/41a9d4c9-bd41-485b-93c1-02a1bcfd2ea9.jpg




2018/10/14 09:34:54    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/4/1/41a9d4c9-bd41-485b-93c1-02a1bcfd2ea9.jpg

                                                           https://m.news.yandex.ru/story/Polkovnika_FSB_iz_administracii_p https://m.news.yandex.ru/story/Polkovnika_FSB_iz_administracii_prezidenta_obvinili_v_moshen
                                                           rezidenta_obvinili_v_moshennichestve--                           nichestve--
                                                           54cca789bb8220dcacdae6d4bc4a31bd?lang=ru&from=main_portal 54cca789bb8220dcacdae6d4bc4a31bd?lang=ru&from=main_portal&stid=tUBto1WOoviL4LJAIja_
                                                           &stid=tUBto1WOoviL4LJAIja_&t=1539587455&lr=213&msid=153958 &t=1539587455&lr=213&msid=1539587888.37927.140285.558171&mlid=1539587455.glob_225.
2018/10/15 07:19:44    Alexander Ionov   Egor Popov        7888.37927.140285.558171&mlid=1539587455.glob_225.54cca789 54cca789 -
2018/10/15 07:19:48    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/10/15 07:19:51    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/10/15 07:20:57    Egor Popov        Alexander Ionov   Забей                                                            Screw it!

                                                           http://www.dslib.net/kondensat/formirovanie-morfologija-i-       http://www.dslib.net/kondensat/formirovanie-morfologija-i-nekotorye-svojstva-
2018/10/15 08:30:12    Alexander Ionov   Egor Popov        nekotorye-svojstva-mikroskopicheskih-fraktalnyh.html             mikroskopicheskih-fraktalnyh.html
2018/10/15 08:30:17    Alexander Ionov   Egor Popov        Я теперь знаю                                                    I know now.
2018/10/15 08:30:24    Alexander Ionov   Egor Popov        Где АБ подрабатывает                                             Where does AB moonlight?
2018/10/15 08:30:32    Alexander Ionov   Egor Popov        По 480 руб за скачивание                                         480 rubles per download.
2018/10/15 08:30:37    Alexander Ionov   Egor Popov        [Emoji(s)]                                                       [Emoji(s)]
2018/11/09 06:30:18    Alexander Ionov   Egor Popov        Чурки прислали простыню на английском                            The wogs sent in a spreadsheet in English.
2018/11/09 06:30:26    Alexander Ionov   Egor Popov        Стенограмму конференции                                          The transcript of the conference
2018/11/09 06:30:32    Alexander Ionov   Egor Popov        На 8 страниц                                                     on eight pages.
2018/11/09 06:30:37    Alexander Ionov   Egor Popov        Хуй ты ее переведёшь                                             You won’t fucking be able to translate it.
2018/11/09 06:30:51    Alexander Ionov   Egor Popov        Он мне в 5 утра позвонил                                         He called me at 5 a.m.
2018/11/09 06:31:15    Alexander Ionov   Egor Popov        Дам телефон АБ ему                                               I'll give him AB’s phone number.
2018/11/09 06:31:24    Egor Popov        Alexander Ionov   Не надо ее переводить, присылай в оригинале                      Don't translate it, send me the original.
2018/11/09 06:31:36    Alexander Ionov   Egor Popov        Пусть напрямую информацию даёт из первых уст                     Let him provide information straight from the horse's mouth.
2018/11/09 06:31:40    Alexander Ionov   Egor Popov        Я уже перевёл                                                    I already translated it.
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                                                                                                                   [Truncated] “Solidarity” by Omowale Clay. During the negotiations, questions of further
                                                                                                                   collaboration and mutual information exchange were discussed. Ionov offered “Black Solidarity”
                                                                                                                   to join reparations collections carried out by the Uhuru activists and The Black is Back Coalition.
                                                                                                                   Omowale promised to reach out to Penny Hess in order to discuss collaboration, since his
                                                                                                                   organization was introduced at the Seventh Congress of the African People’s Socialist Party in
                                                                                                                   October.
                                                                                                                   On the eve of the election of November 5, “Black Solidarity” holds a big event in Brooklyn,
                                                                                                                   dedicated to the memory of movement founder and thought leader Carlos Russ[ell]. This time,
                                                                                                                   over 300 people took part in the event. The action started with a march on Brooklyn streets and
                                                                                                                   ended at Congress Hall. The conference was split into three public events, that are sponsored
                                                                                                                   and supported by a broad coalition of political activists, public organizations, educators, elected
                                                                                                                   officials, and clergymen, and that are held in Bedford-Stuyvesant, Brooklyn.
                                                                                                                   The day started in the morning, with a program “Learning from the People” at Brooklyn’s
                                                                                                                   Restoration Plaza, in which over 200 students of different ages participated, from elementary to
                                                                                                                   high schoolers. Music teacher Ahmed Abdullah from PS 3 brought his students, many of whom
                                                                                                                   performed songs and music. Brother Hayes [PH] brought students from MS 113. The chorus from
                                                                                                                   the Van Siclen Community School Choir performed a South African song “Sumanglaza”. Students
                                                                                                                   from Nelson Mandela HS recited poems and essays dedicated to Black Solidarity Day. Kuzaliwa
                                                                                                                   Kojo Campbell, Assistant School Principal for Van Siclen community and the event organizer, was
2018/11/09 06:31:53    Alexander Ionov   Egor Popov                                                                the Master of Ceremonies, and Omowale Clay, the leader of the December 12 community, asked
                                                      Media/79168527258@s.whatsapp.net/0/d/0d82685d-6936-4e1d-99fc-81edb6b41e11.jpg
2018/11/09 07:03:28    Alexander Ionov   Egor Popov   Я отправил                                                   I sent it.
2018/11/09 10:44:08    Alexander Ionov   Egor Popov   Ко мне какие претензии                                       What issues do you have with me
2018/11/09 10:44:10    Alexander Ionov   Egor Popov   ?                                                            ?
2018/11/09 10:44:43    Alexander Ionov   Egor Popov   Зато видно, что текст оригинальный                           At least it's obvious that the text is original.
                                                      Никто из русских такую хуйнб не придумает и не напишет, что  No Russian will come up with such fucking bullshit or write it, which proves the power of
2018/11/09 10:45:10    Alexander Ionov   Egor Popov   доказывает силу информации                                   information.
                                                      А ты мог бы не стебаться, так как они прислали инфу полную с
2018/11/09 10:45:32    Alexander Ionov   Egor Popov   фото                                                         Could you refrain from jibing since they sent the complete info with photos?
2018/12/09 21:13:22    Alexander Ionov   Egor Popov   Нормальный воскресный вечер                                  An ordinary Sunday evening.



                                                                                                                        Media/79168527258@s.whatsapp.net/3/4/3484a2bd-cbe2-423f-bf44-fefe4d9414bb.jpg




2018/12/09 21:13:26    Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/3/4/3484a2bd-cbe2-423f-bf44-fefe4d9414bb.jpg
                                                      https://www.theatlantic.com/politics/archive/2019/03/alexander- https://www.theatlantic.com/politics/archive/2019/03/alexander-ionov-helps-fund-maria-
2019/03/20 12:58:10    Alexander Ionov   Egor Popov   ionov-helps-fund-maria-butinas-legal-bills/585112/              butinas-legal-bills/585112/
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                                                           Я не буду это докладывать! Тебя называют покровителем
                                                           Бутиной, которая призналась во вмешательстве в выборы в     I will not report it! You are called the patron of Butina, who admitted to interfering in the 2016
                                                           2016 г. Еще и сепаратистские конференции припомнили. Сейчас elections. They also reminded about the separatist conferences. Now they will impose sanctions
2019/03/20 13:06:56    Egor Popov        Alexander Ionov   против тебя санкции введут.                                 against you.



                                                                                                                             Media/79168527258@s.whatsapp.net/d/2/d2b41124-69df-455a-8b2e-14a38a9743a4.jpg

                                                                                                                             That’s tough!




                                                           Media/79168527258@s.whatsapp.net/d/2/d2b41124-69df-455a-
                                                           8b2e-14a38a9743a4.jpg

2019/03/20 13:07:27    Egor Popov        Alexander Ionov   Это жесть!
2019/05/02 14:21:05    Alexander Ionov   Egor Popov        Привет                                                         Hi
2019/05/02 14:21:14    Alexander Ionov   Egor Popov        Ты документ готовить к 8 будешь                                You'd be preparing the document by the 8th
2019/05/02 14:21:19    Alexander Ionov   Egor Popov        АБ сказал                                                      AB said
2019/05/02 14:21:24    Alexander Ionov   Egor Popov        Или сегодня присылать                                          Or do I send today
                                                           Привет! До ПН вообще забей. А там я у АБ спрошу, будет доклад
2019/05/02 15:07:12    Egor Popov        Alexander Ionov   или нет.                                                       Hi! Forget it altogether till Monday. And then I'll ask AB if there will be a report or not.
2019/05/02 15:07:32    Alexander Ionov   Egor Popov        Оке                                                            Okay
2019/05/02 15:07:36    Alexander Ionov   Egor Popov        Благодарю                                                      Thank you
2019/05/06 07:36:27    Alexander Ionov   Egor Popov        Привет                                                         Hi
2019/05/06 07:36:29    Alexander Ionov   Egor Popov        Как сам?                                                       What's up?
2019/05/06 07:36:43    Alexander Ionov   Egor Popov        Узнай плиз по моему вопросу                                    Please find out regarding my matter
2019/05/06 07:36:45    Alexander Ionov   Egor Popov        Спасибо                                                        Thank you
                                                           Саш, привет! Деньги будут завтра. Я узнал у АБ, нужно готовить
                                                           документ. Просит завтра сдать. Сможешь сегодня до вечера       Hi, Sash! The money will be available tomorrow. I found out from AB, the document needs to be
2019/05/06 07:38:35    Egor Popov        Alexander Ionov   прислать?                                                      prepared. He is asking to submit tomorrow. Will you be able to send it by tonight?
2019/05/06 07:38:47    Alexander Ionov   Egor Popov        Смогу                                                          I will be able to
                                                           Media/79168527258@s.whatsapp.net/5/d/5d2c7212-0202-4d92-       Media/79168527258@s.whatsapp.net/5/d/5d2c7212-0202-4d92-a536-4dae3f8b5256.opus
                                                           a536-4dae3f8b5256.opus
                                                                                                                          [Audio file]

                                                                                                                             I will be able to do it.. well, closer to the night. I’ll go the gym and after that, uhm… I’ll start
                                                                    5d2c7212-0202-4d92-a536-4dae3f8b5256.opus                working on the document.


2019/05/06 07:39:07    Alexander Ionov   Egor Popov
2019/05/06 07:45:28    Egor Popov        Alexander Ionov   Давай. Мне главное, чтобы я завтра в 9:00 сел ее писать.          Go ahead. The important thing is for me to get down to writing it at 9:00 tomorrow.
2019/05/06 07:45:51    Egor Popov        Alexander Ionov   А ты сможешь завтра сам подъехать к нам?                          Will you be able to stop by our place yourself tomorrow?
2019/05/06 07:50:13    Alexander Ionov   Egor Popov        Да                                                                Yes
2019/05/06 07:50:18    Alexander Ionov   Egor Popov        В какое время?                                                    At what time?
2019/05/06 07:50:24    Egor Popov        Alexander Ionov   В любое                                                           At any [time]
2019/05/06 07:50:41    Egor Popov        Alexander Ionov   Давай около 16 ч.                                                 Let's make it around 16:00
2019/05/06 07:50:59    Egor Popov        Alexander Ionov   Или 17                                                            Or 17:00
2019/05/06 08:14:09    Alexander Ionov   Egor Popov        Ок                                                                Ok
2019/05/06 20:43:40    Alexander Ionov   Egor Popov        Егор                                                              Yegor
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2019/05/06 20:43:43    Alexander Ionov   Egor Popov        Ты на связи                                                      Are you available to talk
2019/05/06 20:44:04    Alexander Ionov   Egor Popov        Я скинул по Маше то что АБ просил                                I have sent what AM asked for on Masha
2019/05/06 20:44:09    Alexander Ionov   Egor Popov        А общий нужен?                                                   Do you need a general one?
2019/05/06 20:44:17    Alexander Ionov   Egor Popov        Или его на следующую неделю?                                     Or is it for next week?

                                                                                                                            Media/79168527258@s.whatsapp.net/9/3/934f1b11-e0b0-4329-bb24-b3a618fcbac8.webp




2019/05/06 20:44:20    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/9/3/934f1b11-e0b0-4329-bb24-b3a618fcbac8.webp
2019/05/06 20:44:34    Alexander Ionov   Egor Popov        Просто мне звонить надо тогда                              It's just that, in that case, I need to call
2019/05/06 20:44:36    Alexander Ionov   Egor Popov        Вновь                                                      Again
2019/05/06 20:44:40    Alexander Ionov   Egor Popov        В ночь                                                     At night
2019/05/06 20:44:51    Alexander Ionov   Egor Popov        А завтра я должен быть в АП к 9 утра                       And tomorrow I have to be at AP by 9:00am

                                                                                                                            Media/79168527258@s.whatsapp.net/e/d/ed30a5eb-b15a-4014-bfad-3c951f45e319.webp




2019/05/06 20:44:54    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/e/d/ed30a5eb-b15a-4014-bfad-3c951f45e319.webp
2019/05/06 20:45:07    Alexander Ionov   Egor Popov        Общий делать?                                               Should I do the general one?
2019/05/06 20:45:13    Egor Popov        Alexander Ionov   Конечно                                                     Of course
2019/05/06 20:45:14    Alexander Ionov   Egor Popov        АБ просил только Машу                                       AB asked only for Masha

                                                                                                                            Media/79168527258@s.whatsapp.net/f/5/f541b579-7a4b-4bc6-9cbf-3d9956d36c81.webp




2019/05/06 20:45:17    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/f/5/f541b579-7a4b-4bc6-9cbf-3d9956d36c81.webp
2019/05/06 20:45:23    Egor Popov        Alexander Ionov   Мы же с тобой на него договаривались                         You and I did agree on it
2019/05/06 20:45:34    Egor Popov        Alexander Ionov   Какую Машу, вообще не знаю о таких пррсьбах                  Masha who? I don't know about these requests at all
2019/05/06 20:45:44    Alexander Ionov   Egor Popov        Я тебе говорил                                               I told you
2019/05/06 20:45:49    Alexander Ionov   Egor Popov        Про пресс конференцию                                        About the press conference
2019/05/06 20:45:54    Alexander Ionov   Egor Popov        Которую я делал                                              Which I was doing
2019/05/06 20:45:58    Alexander Ionov   Egor Popov        По Бутиной                                                   On Butina
2019/05/06 20:46:12    Egor Popov        Alexander Ionov   Ну ппц, завтра меня еще и это заставят писать                This is fucked up, tomorrow they'll make me write this, too, on top of everything
2019/05/06 20:46:21    Alexander Ionov   Egor Popov        Я там все хорошо написал                                     I wrote everything well there
2019/05/06 20:46:30    Alexander Ionov   Egor Popov        Это основное мероприятие                                     That's the main event
2019/05/06 20:46:41    Alexander Ionov   Egor Popov        Посмотри почту                                               Check your mail
2019/05/06 20:47:02    Alexander Ionov   Egor Popov        А ты скажи я только Бутину прислал                           And you say that I have sent only Butina
2019/05/06 20:47:06    Alexander Ionov   Egor Popov        [Emoji(s)]                                                   [Emoji(s)]
2019/05/06 20:50:20    Alexander Ionov   Egor Popov        Ладно                                                        All right
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2019/05/06 20:50:22    Alexander Ionov   Egor Popov        Напишу                                                          I'll wriite [it]
                                                           Саш, серьезно. Ты обещал, что к 9:00 у меня все будет. 8 мая
                                                           поздравительный день, никто принимать документы не будет.       Seriously, Sash. You promised that by 9:00 I would have everything. May 8 is a celebratory day,
                                                           А 9 мая руководство дежурит. Придется и мне выходить, если      no one will be accepting documents. And on May 9 the leadership is on duty. So I'll have to go to
2019/05/06 21:05:28    Egor Popov        Alexander Ionov   не успею. А я не хочу!                                          work, too, if I don't make it. And I don't want to!
2019/05/06 21:05:56    Alexander Ionov   Egor Popov        Я же тебе сказал, что напишу                                    I did tell you that I would write
2019/05/07 07:44:58    Egor Popov        Alexander Ionov   Call not answered                                               Call not answered
2019/05/07 07:45:09    Alexander Ionov   Egor Popov        Пиши                                                            Write
2019/05/07 07:45:14    Alexander Ionov   Egor Popov        Я на параде                                                     I'm at the parade
2019/05/07 07:45:28    Egor Popov        Alexander Ionov   Отличный материал по Бутиной. Красавчик!                        Awesome material on Butina. You rock, man!
2019/05/07 07:45:39    Alexander Ionov   Egor Popov        Благодарю                                                       Thank you
2019/05/07 07:45:39    Egor Popov        Alexander Ionov   Вопрос: кто присутствовал на конференции?                       Question: who attended the conference?
2019/05/07 07:45:44    Egor Popov        Alexander Ionov   Из ррдственников                                                I mean from among relatives
2019/05/07 07:45:54    Alexander Ionov   Egor Popov        Отец был на прямом включении                                    The father was live on air
2019/05/07 07:45:59    Alexander Ionov   Egor Popov        С РТ                                                            From RT
2019/05/07 07:46:07    Alexander Ionov   Egor Popov        На самой пресс конференции я был                                I was at the press conference itself
2019/05/07 07:46:28    Egor Popov        Alexander Ionov   Ты и журналисты и всё, так?                                     You and the reporters, and that's it, right?
2019/05/07 07:46:55    Egor Popov        Alexander Ionov   По телефону выступила Мария и ее отец?                          Did Maria and her father speak over the phone?

                                                                                                                           Media/79168527258@s.whatsapp.net/6/1/61c67b9c-a814-4e2e-8742-7d40bb4bbadb.opus

2019/05/07 07:47:28    Alexander Ionov   Egor Popov                                                                    [Audio file]
                                                           Media/79168527258@s.whatsapp.net/6/1/61c67b9c-a814-4e2e-8742-7d40bb4bbadb.opus
2019/05/07 07:48:59    Egor Popov        Alexander Ionov   Понял                                                       Understood
2019/05/07 07:49:14    Alexander Ionov   Egor Popov        Я наберу чуть позже                                         I'll call in a little bit
2019/05/07 07:49:19    Egor Popov        Alexander Ionov   Ок                                                          Ok
2019/05/07 08:20:46    Egor Popov        Alexander Ionov   А есть фотки в хорошем качестве с прессухи?                 Are there any good-quality pictures from the press conference?
2019/05/07 08:21:13    Alexander Ionov   Egor Popov        https://cloud.mail.ru/public/5xnj/59cyzCDHv                 https://cloud.mail.ru/public/5xnj/59cyzCDHv
2019/05/07 08:54:24    Alexander Ionov   Egor Popov        Забыл                                                       I forgot
                                                           В документе укажи обязательно, что я основал фонд Марии и
2019/05/07 08:54:46    Alexander Ionov   Egor Popov        деньги собрал                                               In the document make sure to indicate that I started Maria's Fund and collected money
2019/05/07 08:54:57    Egor Popov        Alexander Ionov   Уже                                                         Already done

                                                                                                                           Media/79168527258@s.whatsapp.net/5/9/595ad6f8-9b23-42d4-9f5d-cabd3be0fa87.webp




2019/05/07 08:55:09    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/5/9/595ad6f8-9b23-42d4-9f5d-cabd3be0fa87.webp
                                                           Я все помню, мы уже писали по твоей работе справку, помнишь, I remember everything, we already wrote an informational report on your work, remember,
2019/05/07 08:55:48    Egor Popov        Alexander Ionov   когда она пошла на сделку со следствием.                     when she went for a plea agreement.
2019/05/07 08:55:57    Alexander Ionov   Egor Popov        Да                                                           Yes
2019/05/07 08:56:04    Alexander Ionov   Egor Popov        Я думал ее прислать ещё раз                                  I was thinking of sending it once again
2019/05/07 08:56:12    Alexander Ionov   Egor Popov        Но раз все есть то збс                                       But since you have everything, it's fucking awesome
2019/05/07 08:56:21    Egor Popov        Alexander Ionov   ☺                                                            ☺
2019/05/07 10:00:59    Alexander Ionov   Egor Popov        А я могу пораньше приехать                                   And I can be there earlier
2019/05/07 10:01:06    Alexander Ionov   Egor Popov        Хочу в зал ещё сходить успеть                                I want to make it to the gym, too
                                                           В каком году была поездка на молитвенный завтра в
2019/05/07 10:18:27    Egor Popov        Alexander Ionov   Вашингтон?                                                   In what year was the trip to the National Prayer Breakfast in Washington D.C.?
2019/05/07 10:18:52    Alexander Ionov   Egor Popov        Я хз)                                                        I have no fucking idea)
2019/05/07 10:19:06    Egor Popov        Alexander Ionov   Ну епт                                                       Oh fuck
2019/05/07 10:19:17    Egor Popov        Alexander Ionov   А куда мне обратиться?                                       And whom can I ask?
2019/05/07 10:19:28    Alexander Ionov   Egor Popov        Позвони Маше                                                 Call Masha
2019/05/07 10:19:35    Alexander Ionov   Egor Popov        Тебе информация эта нужна?                                   Do you need this information?
2019/05/07 10:19:46    Egor Popov        Alexander Ionov   Да, ее сложно узнать?                                        Yes, is it difficult to find out?
2019/05/07 10:21:14    Alexander Ionov   Egor Popov        Февраль 2017                                                 February 2017
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                                                                                                                          Media/79168527258@s.whatsapp.net/d/5/d5fcba77-aa06-481f-8666-a0ca8e14427a.webp




2019/05/07 10:21:17    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/d/5/d5fcba77-aa06-481f-8666-a0ca8e14427a.webp
2019/05/07 10:21:35    Alexander Ionov   Egor Popov        Национальный молитвенный завтрак                            The National Prayer Breakfast
2019/05/07 10:21:49    Egor Popov        Alexander Ionov   Ок!                                                         OK!
2019/05/07 10:22:08    Alexander Ionov   Egor Popov        Мне приезжать?                                              Should I come over?
2019/05/07 10:23:29    Egor Popov        Alexander Ionov   Да, приезжай! Только не раньше 14:30                        Yes, come over! Just no earlier than 14:30
2019/05/07 10:23:42    Alexander Ionov   Egor Popov        Приятного аппетита                                          Bon appetit
2019/05/07 10:23:46    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2019/05/07 10:23:58    Egor Popov        Alexander Ionov   Спасибо, я уже☺                                             Thanks, I'm already done☺

                                                                                                                          Media/79168527258@s.whatsapp.net/d/9/d9eeb3ea-eecb-4ab6-97c8-d6a464cffb29.webp




2019/05/07 10:24:48    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/d/9/d9eeb3ea-eecb-4ab6-97c8-d6a464cffb29.webp
2019/05/07 11:49:14    Alexander Ionov   Egor Popov        Мне 10 мин                                                 I need 10 minutes
2019/05/07 18:21:19    Alexander Ionov   Egor Popov        Ну что                                                     So what
2019/05/07 18:21:27    Alexander Ionov   Egor Popov        Зашло в АБ?                                                Did it go into AB?
2019/05/07 18:21:28    Alexander Ionov   Egor Popov        [Emoji(s)]                                                 [Emoji(s)]
2019/05/08 06:54:18    Egor Popov        Alexander Ionov   Еще нет                                                    Not yet

                                                                                                                          Media/79168527258@s.whatsapp.net/e/7/e7e6818a-8973-47bf-95fb-da234b33f462.webp




2019/05/08 06:54:22    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/e/7/e7e6818a-8973-47bf-95fb-da234b33f462.webp
2019/05/08 06:54:26    Egor Popov        Alexander Ionov   До сих пор исправляет                                       Still correcting
2019/05/08 06:54:29    Alexander Ionov   Egor Popov        Епте                                                        Jeez
2019/05/08 06:54:36    Egor Popov        Alexander Ionov   За-_-ал                                                     Fuck it
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                                                                                                                           Media/79168527258@s.whatsapp.net/d/9/d969e797-e5be-4b40-97b1-bc74f29c0190.webp




2019/05/08 06:54:39    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/d/9/d969e797-e5be-4b40-97b1-bc74f29c0190.webp
2019/08/02 07:02:12    Alexander Ionov   Egor Popov        Я тебе только сегодня смогу скинуть отчёт                  I'll only be able to send you the report today.
2019/08/02 07:02:21    Alexander Ionov   Egor Popov        Вчера очень плохо было                                     I was really unwell yesterday.
2019/08/02 07:02:25    Egor Popov        Alexander Ionov   Во сколько? Привет                                         What time? Hi.
2019/08/02 07:02:27    Alexander Ionov   Egor Popov        Я очень извиняюсь                                          I do apologize.
2019/08/02 07:02:41    Alexander Ionov   Egor Popov        Давление 160 поднялось                                     [My] blood pressure rose to 160.
2019/08/02 07:02:56    Egor Popov        Alexander Ionov   Ептт                                                       Fuck
2019/08/02 07:03:07    Alexander Ionov   Egor Popov        Я сам не ожидал                                            I didn't expect it myself
2019/08/02 07:03:32    Alexander Ionov   Egor Popov        А какой дед Лайн?                                          What's the deadline?
2019/08/02 07:03:49    Alexander Ionov   Egor Popov        В 12:00 сегодня заседание африканского клуба               There's a meeting of the African Club at 12:00 today.
2019/08/02 07:04:08    Alexander Ionov   Egor Popov        Могу его тоже в отчёт включить                             I can include it in the report, too.
2019/08/02 07:04:16    Alexander Ionov   Egor Popov        Либо прислать раньше                                       Or I can send it sooner.
2019/08/02 07:04:24    Egor Popov        Alexander Ionov   Раньше присылай конечно                                    Send it sooner, of course.
2019/08/02 07:04:31    Alexander Ionov   Egor Popov        Хорошо                                                     Alright.
2019/08/02 07:12:56    Alexander Ionov   Egor Popov        В течении часа-полтора все сделаю                          I'll do everything in the next hour - hour and a half.
2019/08/02 07:12:58    Alexander Ionov   Egor Popov        Сорри                                                      Sorry.
2019/08/02 07:13:08    Alexander Ionov   Egor Popov        Первый раз со мной такое                                   It has never happened to me before.
2019/08/02 07:13:25    Egor Popov        Alexander Ionov   Хорошо, конечно☺ Береги себя!                              OK, of course. ☺ Take care!
2019/08/02 07:13:42    Alexander Ionov   Egor Popov        Надо на отдых ехать. Благодарю                             I need to go on vacation. I appreciate it.
2019/08/02 09:43:08    Alexander Ionov   Egor Popov        Я все скинул                                               I've sent everything.
2019/08/02 09:43:14    Alexander Ionov   Egor Popov        успел поговорить только с Пенни                            I only had time to talk to Penny.
2019/08/02 09:43:20    Alexander Ionov   Egor Popov        остальные спят походу уже                                  The others seem to be sleeping already.
2019/08/02 09:43:25    Alexander Ionov   Egor Popov        посмотри                                                   Take a look .
2019/08/02 09:43:26    Egor Popov        Alexander Ionov   Ага, пришло. Спасиб!                                       Uh-huh, it's here. Thanks!
2019/08/23 04:21:10    Egor Popov        Alexander Ionov   К 11 я уже должен сдать. Присылай что есть                 I must submit it by 11:00. Send me what you have.
2019/08/23 04:21:41    Egor Popov        Alexander Ionov   Нас попросили сегодня раньше сдать.                        They asked us today to submit it earlier.

2019/08/23 04:39:05    Egor Popov        Alexander Ionov   АБ сказал к 12 уже сдать документ Умеешь ты выбирать время      AB said to submit the document by 12:00. You know how to choose the time.
2019/08/23 04:50:29    Alexander Ionov   Egor Popov        Форс мажор                                                      Force majeure.
2019/08/23 04:50:32    Alexander Ionov   Egor Popov        Работаю                                                         I’m working.
2019/08/23 04:52:00    Alexander Ionov   Egor Popov        Соррри                                                          Sorry.
2019/08/23 04:52:10    Alexander Ionov   Egor Popov        Сейчас будет                                                    You’ll get it now.
2019/08/23 06:29:44    Alexander Ionov   Egor Popov        Отправил                                                        I sent it.
2019/08/23 06:29:56    Alexander Ionov   Egor Popov        Но учти, фейсбук сегодня не работает                            But keep in mind, Facebook isn't working today.
2019/08/23 06:35:11    Egor Popov        Alexander Ionov   Принял! Благодарю!                                              I received it. Thank you!
2019/08/23 06:36:42    Alexander Ionov   Egor Popov        [Emoji(s)]                                                      [Emoji(s)]
2019/08/23 06:52:39    Egor Popov        Alexander Ionov   Call not answered                                               Call not answered
2019/08/23 07:00:05    Alexander Ionov   Egor Popov        Ты звонил?                                                      Did you call [me]?
2019/08/23 07:14:55    Egor Popov        Alexander Ionov   Call not answered                                               Call not answered

                                                                                                                           Media/79168527258@s.whatsapp.net/a/1/a1ae702d-f238-41f3-a12e-dc61391bef13.mp4

2019/08/23 07:17:21    Alexander Ionov   Egor Popov                                                                    [Video file - See attached]
                                                           Media/79168527258@s.whatsapp.net/a/1/a1ae702d-f238-41f3-a12e-dc61391bef13.mp4
2019/08/23 07:17:31    Alexander Ionov   Egor Popov        В офисе Ухуру                                               At the Uhuru office.
                                                                                                                       Media/79168527258@s.whatsapp.net/4/6/4660fe18-3538-4c9f-a74a-f360ff9e74cb.mp4

2019/08/23 07:18:35    Alexander Ionov   Egor Popov                                                                    [Video file - See attached]
                                                           Media/79168527258@s.whatsapp.net/4/6/4660fe18-3538-4c9f-a74a-f360ff9e74cb.mp4
                                                           Саш, а у тебя нет методичек Сороса, NED, USAID, «Открытое
                                                           общество» и пр. вражеских организаций о разжигании              Sash, do you happen to have any reference books by Soros, NED, USAID , 'Open Society', and
                                                           протестных насроений в РФ, выражения недовольства властью,      other enemy organizations about stirring protest mood in the Russian Federation,
                                                           организации протестов, митингов и тп.? Можно из старого 90-е,   expression of dissatisfaction with the government, organization of protests, rallies, etc.?
2019/09/05 13:56:34    Egor Popov        Alexander Ionov   00-е и н.в.                                                     The old ones from the 90s and [20]00s, and the present time are fine.
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                                                                                                                            Media/79168527258@s.whatsapp.net/e/d/ed1e4d06-3840-41ae-8c7b-6b9ceacb25a1.opus

2019/09/05 13:57:48    Alexander Ionov   Egor Popov                                                                       [Audio file]
                                                           Media/79168527258@s.whatsapp.net/e/d/ed1e4d06-3840-41ae-8c7b-6b9ceacb25a1.opus
2019/09/05 13:59:15    Egor Popov        Alexander Ionov   Посмотри плз, нам край завтра нужно                            Please take a look. We need it tomorrow at the latest.
                                                           https://m.news.yandex.ru/yandsearch?text=александр%20ионов& https://m.news.yandex.ru/yandsearch?text=александр%20ионов&rpt=nnews2&grhow=clutop&
2019/09/05 23:14:17    Alexander Ionov   Egor Popov        rpt=nnews2&grhow=clutop&source=tabbar                          source=tabbar
2019/09/06 06:09:28    Alexander Ionov   Egor Popov        Привет                                                         Hi
2019/09/06 06:09:48    Alexander Ionov   Egor Popov        В районе 12:30 планируй быть                                   Plan to be in around 12:30.
2019/09/06 06:09:54    Alexander Ionov   Egor Popov        Там все нормально?                                             Is everything OK over there?
2019/09/06 06:56:42    Egor Popov        Alexander Ionov   Привет. Стой, пока нет инфы                                    Hi. Hold on. There's no info yet.
2019/09/06 06:56:48    Alexander Ionov   Egor Popov        [Emoji(s)]                                                     [Emoji(s)]
2019/09/06 06:56:50    Alexander Ionov   Egor Popov        ☹                                                              ☹
2019/09/06 06:57:52    Egor Popov        Alexander Ionov   Зато АБ подписал визы)                                         However, AB signed the visas).
2019/09/06 06:58:04    Egor Popov        Alexander Ionov   Вчера ушли, к ПН должны быть                                   They left yesterday, and should be in by Monday.
2019/09/06 07:00:09    Alexander Ionov   Egor Popov        Ура!                                                           Yay!
2019/09/06 12:05:43    Egor Popov        Alexander Ionov   Саш, а методички?                                              Sash, how about the reference books?
2019/09/06 12:05:58    Alexander Ionov   Egor Popov        Я их запросил                                                  I have put in a request for those.
2019/09/06 12:06:01    Alexander Ionov   Egor Popov        Пока тишина                                                    So far, it's quiet.
2019/09/06 12:06:14    Alexander Ionov   Egor Popov        Я сейчас в МИДе                                                I'm at the Ministry of Foreign Affairs [MID] at the moment.
2019/09/06 12:06:15    Egor Popov        Alexander Ionov   У Сороса?)))                                                   At Soros'?)))
2019/09/06 12:16:07    Alexander Ionov   Egor Popov        Ага                                                            Uh-huh.
2019/09/06 13:12:30    Egor Popov        Alexander Ionov   Отдал                                                          I gave it.
2019/09/06 13:12:36    Alexander Ionov   Egor Popov        Благодарю                                                      I appreciate it.
                                                           Саш, а можешь мне статистики подкинуть. Какое число голосов
                                                           набрала Кайнион? Кто ближайшие конкуренты и сколько у них? Sasha, can you send me the statistics? How many votes did Cainion get? Who are her nearest
                                                           Есть какая-то уникальность в нашей предвыборной кампании,      rivals and how many [votes] do they have? Is our election campaign kind of unique, are we the
2019/09/06 15:09:45    Egor Popov        Alexander Ionov   мы первые в истории?                                           first in history?
2019/09/06 15:20:20    Egor Popov        Alexander Ionov   Call not answered                                              Call not answered
2019/09/06 17:56:26    Egor Popov        Alexander Ionov   Саш Саш!                                                       Sash, Sash!
2019/09/06 17:56:47    Alexander Ionov   Egor Popov        Чего                                                           What?
                                                           Отбой, не надо ночью никому звонить Мы не сдаем завтра         It's a no-go, there's no need to call anyone at night. We aren't submitting the document
2019/09/06 17:56:48    Egor Popov        Alexander Ionov   документ.                                                      tomorrow.
2019/09/06 17:56:53    Alexander Ionov   Egor Popov        [Emoji(s)]                                                     [Emoji(s)]
2019/09/06 17:56:59    Alexander Ionov   Egor Popov        Почему                                                         Why?
2019/09/06 17:58:03    Egor Popov        Alexander Ionov   Первого нет на месте                                           The number one is out of the office.
2019/09/06 17:58:14    Egor Popov        Alexander Ionov   На следующей неделе будем докладывать                          We'll report next week.
2019/09/06 18:01:54    Alexander Ionov   Egor Popov        Ну значит во вторник позвоню                                   Well, in that case, I'll call on Tuesday.
                                                           1. Бамфорд Винсент Джеймс. Телекс 2503 от 09.09.2019.
                                                           Получает в посольстве РФ в Вашингтоне. Годовая деловая         1. Vincent James Bamford [PH]. Telex 2503 dated 09/09/2019. [He] receives at the Embassy of
                                                           многократная виза с 08.09.2019 по 08.09.2020.                  the Russian Federation in Washington D.C. The one-year business multiple entry visa from
                                                           2. Ваэль Альмалас Асаад. Телекс 2522 от 09.09.2019. Получает в 09/08/2019 to 09/08/2020.
                                                           посольстве РФ в Дамаске. Двукратная деловая виза с 09.09.2019 2. Almalas Asaad Wael [PH]. Telex 2522 dated 09/09/2019. [He] receives at the Embassy of the
2019/09/09 12:38:36    Egor Popov        Alexander Ionov   по 28.09.2019.                                                 Russian Federation in Damascus. The two-entries business visa from 09/09/2019 to 09/28/2019.
2019/09/09 12:45:54    Alexander Ionov   Egor Popov        Благодарю                                                      I appreciate it.
2019/09/09 12:46:05    Alexander Ionov   Egor Popov        [Emoji(s)]                                                     [Emoji(s)]

                                                           На выборах в 7-й округ Санкт-Петербурга, Флорида,
                                                           курируемый нами кандидат Эрита Акиле Каинион вышла во
                                                           второй тур, набрав 24% голосов. На первом месте оказалась
                                                           нынешний представитель 7-го округа Лиза Уиллер-Боуман, с
                                                           57% голосов. Кампания по сбору средств на выборах
                                                           учреждённая г-жой Каинион позволила собрать 15000$, что          During the election to the 7th District of St. Petersburg, Florida, candidate Eritha Akile Cainion
                                                           позволит обеим кандидатам потратить по 7,500$ на кампании        whom we supervise advanced to the second round after winning 24% of votes. The front-runner
                                                           каждого из них. Из электората в 6,683 голоса, 21,5 вернули       turned out to be Lisa Wheeler-Bowman, the current District 7 representative who had 57% of
                                                           бюллетени (отказавшись голосовать). Всего проголосовало -        votes. The election fundraising campaign founded by Ms. Cainion allowed to raise $15,000, which
                                                           2,881, общая явка по штату 16.7%.                                will enable [sic] both candidates to spend $7,500 each on their respective campaigns. Out of
                                                                                                                            6,683 electoral votes, 21,5 returned their ballots (refusing to vote). A total of 2,881 voters cast
                                                           Флорида является уже почти 30 лет Республиканским штатом,        their votes. The total voter turnout in the state was 16.7%.
2019/09/12 23:15:57    Alexander Ionov   Egor Popov        где 71% - белые.                                                 Florida has been a Republican state for almost 30 years, with 71% being white.

2019/09/12 23:17:09    Alexander Ionov   Egor Popov        Поэтому впервые чёрный кандидат с улицы прошла первый тур        Therefore, for the first time ever, a Black candidate off the street passed the first round.
                                                           Слушай, ну мы же договаривались про Бутину на следующей          Listen, didn't we agree [to write] about Butina [PH] next week? Why did you devote the whole
2019/10/11 06:34:57    Egor Popov        Alexander Ionov   неделе. Зачем ты ей весь отчет посвятил?                         report to her?
2019/10/11 06:39:06    Alexander Ionov   Egor Popov        Ты сказал про Джима написать                                     You said to write about Jim [PH].
2019/10/11 06:39:12    Alexander Ionov   Egor Popov        Я написал                                                         I wrote.
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2019/10/11 06:39:18    Alexander Ionov   Egor Popov        Сам же сказал                                                       You said it yourself.
2019/10/11 06:39:30    Alexander Ionov   Egor Popov        И Бутина там 1/4                                                    And only a quarter is about Butina.
2019/10/11 06:43:55    Egor Popov        Alexander Ionov   У тебя скоро 2 тур выборов Акиле. А у нас 0 про это.                You have Akile's second round of election soon. And we have nothing about it.
2019/10/11 06:44:13    Alexander Ionov   Egor Popov        На сл неделе                                                        Next week.
2019/10/11 06:45:06    Alexander Ionov   Egor Popov        У них одна конференция была с женщинами                             They had one conference with women.
2019/10/11 06:45:21    Alexander Ionov   Egor Popov        Что у тебя за паника?                                               Why are you panicking?




                                                                                                                               Media/79168527258@s.whatsapp.net/7/c/7c556686-ef51-4312-8f01-bf02b65305e7.jpg




2019/10/11 06:49:39    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/7/c/7c556686-ef51-4312-8f01-bf02b65305e7.jpg
2019/10/11 06:49:46    Alexander Ionov   Egor Popov        Ближайшее мероприятие                                        The closest event
2019/10/11 06:50:06    Alexander Ionov   Egor Popov        13 числа                                                     is on the 13th.
2019/10/11 07:10:54    Egor Popov        Alexander Ionov   А конда суд у Пола Уиллана?                                  And when is Paul Willan's [PH] court hearing?
2019/10/11 07:11:11    Alexander Ionov   Egor Popov        По идее 29                                                   Supposedly, on the 29th,
2019/10/11 07:11:16    Alexander Ionov   Egor Popov        Если не перенесут                                            if they don't reschedule it.
2019/10/11 08:16:52    Egor Popov        Alexander Ionov   А известно, в какой аэропорт она прилетит?                   Is it known what airport she will fly into?

                                                                                                                               Media/79168527258@s.whatsapp.net/f/9/f9aea589-88f9-4d71-9d22-60be92c42f3d.opus

2019/10/11 08:17:11    Alexander Ionov   Egor Popov                                                                     [Audio file]
                                                           Media/79168527258@s.whatsapp.net/f/9/f9aea589-88f9-4d71-9d22-60be92c42f3d.opus

                                                           У меня нет ссылок на публикации по поездке делегации ДНР в I have no links to any published posts on the Donetsk People's Republic delegation trip to Syria.
2019/10/11 08:37:02    Egor Popov        Alexander Ionov   Сирию. Ты говорил, РИА Новости и еще что-то. Можешь скинуть? You said RIA News and something else. Can you send [them]?

                                                           https://denis-pushilin.ru/news/denis-pushilin-uchastie-delegatsii- https://denis-pushilin.ru/news/denis-pushilin-uchastie-delegatsii-respubliki-v-mezhdunarodnoj-
                                                           respubliki-v-mezhdunarodnoj-vystavke-v-sirii-otpravnaya-platforma- vystavke-v-sirii-otpravnaya-platforma-dlya-rasshireniya-vneshneekonomicheskogo-
2019/10/11 08:37:52    Alexander Ionov   Egor Popov        dlya-rasshireniya-vneshneekonomicheskogo-sotrudnichestva/          sotrudnichestva/
2019/10/11 08:38:24    Alexander Ionov   Egor Popov        https://ria.ru/20190922/1558971648.html                            https://ria.ru/20190922/1558971648.html
                                                           Слушай, а у них предвыборная кампания то идет? У них как Бэ 3
2020/01/31 07:21:58    Egor Popov        Alexander Ionov   ноября голосование                                                 Listen, is their pre-election campaign ongoing? Looks like their voting is set for November 3rd.
2020/01/31 07:22:39    Alexander Ionov   Egor Popov        Что?                                                               What?
2020/01/31 07:23:07    Egor Popov        Alexander Ionov   Что значит «что»?                                                  What do you mean "what"?
                                                           Media/79168527258@s.whatsapp.net/c/6/c6c19273-10dd-4fee-           Media/79168527258@s.whatsapp.net/c/6/c6c19273-10dd-4fee-ae85-b7fa365ccdc5.opus
                                                           ae85-b7fa365ccdc5.opus
                                                                                                                              [Audio file]

                                                                     c6c19273-10dd-4fee-ae85-b7fa365ccdc5.opus                 Listen, I’ll leave the house right now and call you. I don’t understand what a pre-election
2020/01/31 07:30:39    Alexander Ionov   Egor Popov                                                                            campaign is. Do you mean the speeches they are giving regarding the presidency?
2020/01/31 07:44:50    Egor Popov        Alexander Ionov   Да, конечно. Выборы Президента сша                                  Yes, of course. The USA presidential election.
2020/01/31 07:44:59    Alexander Ionov   Egor Popov        Воююют                                                              They are fighting
2020/01/31 07:45:02    Alexander Ionov   Egor Popov        Акции готовят                                                       They are preparing events
2020/01/31 07:45:30    Egor Popov        Alexander Ionov   Надо обязательно их вставлять☝ главная тема года                    They should be definitely worked in☝ the main topic of the year.
2020/02/03 07:42:31    Egor Popov        Alexander Ionov   https://m.lenta.ru/news/2020/02/02/sindeeva/                        https://m.lenta.ru/news/2020/02/02/sindeeva/
2020/02/03 07:46:39    Egor Popov        Alexander Ionov   Вот и тыкни им этим. Все как я сказал                               So rub it in their face. Everything like I said
2020/02/03 07:46:53    Alexander Ionov   Egor Popov        Уже                                                                 Already did
2020/02/03 07:46:55    Alexander Ionov   Egor Popov        [Emoji(s)]                                                          [Emoji(s)]
2020/02/03 07:47:01    Egor Popov        Alexander Ionov   ☺                                                                   ☺
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2020/02/03 08:13:38    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/b/a/baf91a96-2fa2-4474-8c2f-aaa9efd483ab.webp
2020/02/03 15:59:09    Egor Popov        Alexander Ionov   Саш, получается у тебя взять документы?                      Sash, are you able to get the documents?
2020/02/03 16:21:50    Alexander Ionov   Egor Popov        Ты о закрывающих?                                            Are you talking about the closing ones?
2020/02/03 16:27:45    Egor Popov        Alexander Ionov   Ага                                                          Uh-huh
2020/02/03 18:15:29    Alexander Ionov   Egor Popov        Будут к пятницу                                              They will be available on Friday
2020/02/14 06:05:36    Egor Popov        Alexander Ionov   Саш, два пикета, серьезно?!                                  Sash, two picketing protests, seriously?!
2020/02/14 06:08:03    Egor Popov        Alexander Ionov   АБ это не понравится. Он опять начнет считать слова...       AB won't like it. He will start counting words again…
2020/02/14 06:08:31    Alexander Ionov   Egor Popov        Афигеть                                                      Fucking unbelievable
2020/02/14 06:08:35    Alexander Ionov   Egor Popov        Ну это Акции                                                 Well, those are Campaigns [sic]
2020/02/14 06:08:53    Alexander Ionov   Egor Popov        Больше пока мероприятий не было                              So far there have been no more events
2020/02/14 06:09:28    Alexander Ionov   Egor Popov        Они же не каждый день митингуют                              After all, they don't rally every day
                                                           Это 1 акция про стройку, которая никак в правозащите и       That's one campaign about the construction, which has nothing to do with the defense of human
                                                           политики не относится. Второй пикет про проститутку. Что я   rights and politics whatsoever. The second picketing protest is about a prostitute. What should I
2020/02/14 06:09:32    Egor Popov        Alexander Ionov   должен писать?                                               write?
2020/02/14 06:10:13    Alexander Ionov   Egor Popov        Первая и вторая акция полностью правозащитные                The first and second campaigns are absolutely about human rights.
2020/02/14 06:10:24    Alexander Ionov   Egor Popov        То что информации мало                                       The fact that there is not enough information
2020/02/14 06:10:30    Alexander Ionov   Egor Popov        Это косяк                                                    Is a screw-up
2020/02/14 06:10:46    Alexander Ionov   Egor Popov        Но я еле выудил у Джо                                        But I had a hard time fishing it out of Joe [PH]
2020/02/14 06:11:00    Alexander Ionov   Egor Popov        Другие ничего не проводили                                   The others didn't conduct anything
                                                           Про Зимину я писать не буду. Во-первых эта тема еще сложнее
                                                           Бутиной. Во-вторых, мне на понравились твои комментарии в    I won't write about Zimina. First, this topic is even more complicated than Butina. Second, I didn't
                                                           РТ, ничего определенного. Она «хотела», «пела», «говорила»,  like your comments in RT, there's nothing definite. She 'wanted', 'sang', 'talked', there's nothing
2020/02/14 06:11:04    Egor Popov        Alexander Ionov   ничего конкретного.                                          specific.
2020/02/14 06:11:24    Alexander Ionov   Egor Popov        Все акции в 20 числах февраля                                All the campaigns are on the twenty-something of February
2020/02/14 06:11:31    Alexander Ionov   Egor Popov        И середина марта крупные                                     and in mid-March there are some big ones
2020/02/14 06:11:34    Alexander Ionov   Egor Popov        Я писал                                                      I wrote
                                                           Позапрошлый отчёт был на 6 страниц, они хороший митинг
2020/02/14 06:12:54    Alexander Ionov   Egor Popov        провели                                                      The report before last was six pages long, they held a nice rally

2020/02/14 06:13:00    Egor Popov        Alexander Ionov   Так, а мне что делать? У тебя же шире кругозор. Придумай♂          Well, and what do I do? You have a wider scope of knowledge after all. Think of something♂
2020/02/14 06:13:13    Alexander Ionov   Egor Popov        Да воооообще голяк                                                 There is absolutely nothing
2020/02/14 06:13:20    Alexander Ionov   Egor Popov        У Ухуру собрание было                                              Uhuru held a meeting
2020/02/14 06:13:25    Alexander Ionov   Egor Popov        У унак глухо                                                       UNAC is dead quiet
2020/02/14 06:13:33    Alexander Ionov   Egor Popov        Чикаго глухо                                                       Chicago is dead quiet
2020/02/14 06:13:39    Egor Popov        Alexander Ionov   Про религию можем что-то дать?                                     Can we provide something about religion?
2020/02/14 06:13:44    Alexander Ionov   Egor Popov        Сара вообще болеет                                                 Sarah [PH] is sick to begin with
2020/02/14 06:13:56    Alexander Ionov   Egor Popov        Ну пока только переговоры идут                                     Well, so far only negotiations are underway
2020/02/14 06:14:18    Alexander Ionov   Egor Popov        Я как бы и рад писать больше                                       I'm kind of happy to write more
2020/02/14 06:14:31    Alexander Ionov   Egor Popov        Я даже Смиту вчера набрал                                          I even dialed Smith [PH] yesterday
2020/02/14 06:14:49    Alexander Ionov   Egor Popov        Ничего                                                             Nothing
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                                                                                                                               Media/79168527258@s.whatsapp.net/a/e/ae25da21-04c9-4a9b-9310-f46b8d735679.thumb

                                                                                                                               https://www.struggle-la-lucha.org/2020/02/12/ny-gov-cuomos-war-on-the-poor/




                                                           Media/79168527258@s.whatsapp.net/a/e/ae25da21-04c9-4a9b-
                                                           9310-f46b8d735679.thumb

                                                           https://www.struggle-la-lucha.org/2020/02/12/ny-gov-cuomos-war-
2020/02/14 06:16:12    Alexander Ionov   Egor Popov        on-the-poor/
2020/02/14 06:16:19    Alexander Ionov   Egor Popov        Все мероприятия такие                                           All events are like this

2020/02/14 06:17:28    Alexander Ionov   Egor Popov        Но зато за конференцию антивоенную мы хорошо отчитаемся             But at least we'll do a nice report on the antiwar conference
2020/02/14 06:17:35    Alexander Ionov   Egor Popov        Так как спонсируем ее                                               Since we are sponsoring it
2020/02/14 06:18:26    Alexander Ionov   Egor Popov        https://www.workers.org/                                            https://www.workers.org/

2020/02/14 06:19:16    Alexander Ionov   Egor Popov        С Томом вчера списался они уде две недели ничего не делают          I wrote to Tom [PH] yesterday, they haven't been doing anything for two weeks now
2020/02/14 06:19:21    Alexander Ionov   Egor Popov        Ларри в больнице                                                    Larry [PH] is in the hospital
2020/02/14 06:26:59    Alexander Ionov   Egor Popov        А бутончике передачи идут?                                          Are transmissions going to Butonchik [PH]?
2020/02/14 06:27:02    Alexander Ionov   Egor Popov        В документ                                                          Into the document
2020/02/14 06:27:28    Egor Popov        Alexander Ionov   Бутиной?                                                            To Butina?
2020/02/14 06:27:32    Alexander Ionov   Egor Popov        Да                                                                  Yes
2020/02/14 06:27:35    Egor Popov        Alexander Ionov   Нет                                                                 No
2020/02/14 06:27:50    Alexander Ionov   Egor Popov        Только Никита?                                                      Only Nikita [PH]?
2020/02/14 06:28:20    Egor Popov        Alexander Ionov   Да, но Никита идет в другой документ                                Yes, but Nikita is going into a different document
2020/02/14 06:28:28    Alexander Ionov   Egor Popov        Понял                                                               Understood
2020/02/14 06:30:09    Alexander Ionov   Egor Popov        https://www.workers.org/2020/02/46035/                              https://www.workers.org/2020/02/46035/
2020/02/14 06:30:42    Alexander Ionov   Egor Popov        Это то что сделали антивоенные организации Италии                   That's what Italy's antiwar organizations did
                                                           https://www.abbevilleinstitute.org/blog/progressive-californians-
2020/02/14 06:41:09    Alexander Ionov   Egor Popov        should-support-secession/                                           https://www.abbevilleinstitute.org/blog/progressive-californians-should-support-secession/
2020/02/14 06:43:35    Alexander Ionov   Egor Popov        https://youtu.be/5FgnAmjkdgw                                        https://youtu.be/5FgnAmjkdgw
                                                           https://yandex.ru/news/story/Borcy_za_nezavisimost_Irlandii_sobr    https://yandex.ru/news/story/Borcy_za_nezavisimost_Irlandii_sobralis_v_DNR--
2020/02/15 23:19:55    Alexander Ionov   Egor Popov        alis_v_DNR--222a35acceffd9d330719f37e34154a1                        222a35acceffd9d330719f37e34154a1
2020/02/16 06:14:42    Egor Popov        Alexander Ionov   Понятно. Надо давать про форму на этой неделе                       Understood. We need to provide a pro forma this week

                                                                                                                               Media/79168527258@s.whatsapp.net/a/2/a28a4291-a3b7-4f9a-b72c-ef65fd75e5b0.webp




2020/02/16 08:18:50    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/a/2/a28a4291-a3b7-4f9a-b72c-ef65fd75e5b0.webp
                                                           Саш, найди пожалуйста реакцию в иностранных СМИ. Это очень Sash, we did agree on the document about the Dialogue of Nations. At the moment AB is on
2020/02/16 09:58:54    Egor Popov        Alexander Ionov   важно. Это, ради чего мы все делаем                         vacation.
2020/02/16 10:00:26    Alexander Ionov   Egor Popov        Вечерком                                                    In the evening
                                                           Саш, очень нужна реакция зарубежных СМИ. Завтра к 16 ч. Я
2020/02/16 20:12:52    Egor Popov        Alexander Ionov   должен дать это в отчет. Событие очень громкое              It's not ready yet.
2020/03/11 06:46:50    Egor Popov        Alexander Ionov   Call not answered                                           Call not answered
2020/03/11 06:47:39    Alexander Ionov   Egor Popov        Ты звонил?                                                  Did you call?
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2020/03/11 07:00:52    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/9/3/93a89ec1-11a4-499d-9b6e-c406517b6589.jpg
2020/03/11 07:00:59    Alexander Ionov   Egor Popov        Ломали с словакии                                          It was hacked from Slovakia
2020/03/11 07:01:09    Alexander Ionov   Egor Popov        А сам хост из калифорнии                                   But the host himself is from California
2020/03/11 07:01:11    Alexander Ionov   Egor Popov        Сша                                                        The USA
2020/03/11 08:12:18    Egor Popov        Alexander Ionov   Call not answered                                          Call not answered
                                                           https://www.thedailybeast.com/want-to-break-up-the-united-
2020/03/11 10:02:15    Alexander Ionov   Egor Popov        states-the-kremlin-is-ready-to-help                        https://www.thedailybeast.com/want-to-break-up-the-united-states-the-kremlin-is-ready-to-help

                                                                                                                          Media/79168527258@s.whatsapp.net/f/6/f6cdb72c-48d3-4612-80b6-58e2475d7f7b.jpg




2020/03/11 10:42:21    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/f/6/f6cdb72c-48d3-4612-80b6-58e2475d7f7b.jpg
2020/03/11 10:42:26    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2020/03/11 10:44:55    Egor Popov        Alexander Ionov   Пришли мне картинку из сообщения                            Send me the picture from the message
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                                                                                                                         This one




                                                           Media/79168527258@s.whatsapp.net/d/9/d942794b-c0f5-4a46-
                                                           9bdb-ba8f42d2c124.jpg

2020/03/11 10:45:57    Egor Popov        Alexander Ionov   Вот эту
2020/03/11 10:46:41    Alexander Ionov   Egor Popov        Зачем                                                         Why

                                                                                                                         Media/79168527258@s.whatsapp.net/2/6/2660c130-3ec3-4ee9-af50-96d48d6ea4d0.webp




2020/03/11 10:46:42    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/2/6/2660c130-3ec3-4ee9-af50-96d48d6ea4d0.webp
2020/03/11 10:46:59    Egor Popov        Alexander Ionov   Надо                                                        I need it

                                                                                                                         Media/79168527258@s.whatsapp.net/e/d/ed426843-95de-4a9e-8a21-d2dde92511f1.jpg




2020/03/11 10:49:49    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/e/d/ed426843-95de-4a9e-8a21-d2dde92511f1.jpg
2020/03/11 10:51:02    Egor Popov        Alexander Ionov   Мне надо надпись                                           I need the caption
2020/03/11 10:51:49    Egor Popov        Alexander Ionov   Которая начинается со слова «Товарищи!»                    That starts with the word 'Comrades!'
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2020/03/11 10:54:43    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/d/4/d412159a-99e3-41df-98c9-918f35a81a4c.jpg
2020/03/11 11:09:05    Alexander Ionov   Egor Popov        Ну что ты спркоен?                                          So are you relaxed?
2020/03/11 11:48:58    Alexander Ionov   Egor Popov        Ты статью смотрел?                                          Did you see the article?
2020/03/11 11:49:51    Egor Popov        Alexander Ionov   Давай попозже ее обсудим я наберу                           Let's discuss it in a little bit, I'll call
2020/03/11 11:49:56    Alexander Ionov   Egor Popov        Ок                                                          Ok
2020/03/11 15:32:05    Alexander Ionov   Egor Popov        Делали ваши коллеги                                         It was done by your colleagues
2020/03/11 15:32:11    Alexander Ionov   Egor Popov        Взлом                                                       The hack
2020/03/11 15:32:42    Egor Popov        Alexander Ionov   Как ты это понял??!                                         How did you figure it out ??!
2020/03/11 16:36:00    Alexander Ionov   Egor Popov        Борисович меня игнорит                                      Borisovich is ignoring me
2020/03/11 16:36:02    Alexander Ionov   Egor Popov        Ппц                                                         It's fucked up
2020/03/11 18:05:41    Alexander Ionov   Egor Popov        Набери мне                                                  Call me
2020/03/11 18:05:44    Alexander Ionov   Egor Popov        Срочно                                                      As soon as possible
2020/03/11 18:05:47    Alexander Ionov   Egor Popov        Как сможешь                                                 Whenever you can
2020/03/11 19:38:31    Alexander Ionov   Egor Popov        Я переживаю                                                 I'm worried
2020/03/11 19:38:33    Alexander Ionov   Egor Popov        Сильно                                                      Very much so
2020/03/11 19:39:00    Alexander Ionov   Egor Popov        Может переговорим хотябы 3 мин по телеге?                   Can we touch base via Telegram for at least three minutes?
2020/03/11 19:52:11    Egor Popov        Alexander Ionov   Ок. Сейчас наберу                                           Ok. I'll call [you] right now
2020/03/11 19:53:31    Alexander Ionov   Egor Popov        Жду                                                         I'm waiting

                                                                                                                          Media/79168527258@s.whatsapp.net/1/a/1a7243e7-852d-440a-9620-8b5a0844e7c3.jpg




2020/03/11 21:09:12    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/1/a/1a7243e7-852d-440a-9620-8b5a0844e7c3.jpg
2020/03/11 21:09:20    Alexander Ionov   Egor Popov        У Никиты взломана Почта                                    Nikita's Mail has been hacked
2020/03/11 21:09:23    Alexander Ionov   Egor Popov        Все скачено                                                Everything has been downloaded
                      Case 8:22-cr-00259-WFJ-AEP            Document 296-279                                Filed 09/17/24                         Page 36 of 49
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                                                           скорее всего зеркалят:
                                                                                                                             most likely, they are mirroring:
                                                                                                                             ionov@it-int.one
                                                           ionov@it-int.one
                                                           Ionov@anti-global.ru                                              Ionov@anti-global.ru
                                                           info@anti-global.ru                                               info@anti-global.ru

                                                           взломали:                                                         They hacked:
                                                           apromskaya@anti-global.ru                                         apromskaya@anti-global.ru
2020/03/11 23:03:32    Alexander Ionov   Egor Popov        nkomarov@it-int.one                                               nkomarov@it-int.one
2020/03/12 10:06:45    Egor Popov        Alexander Ionov   Саш, буду около 14:30 в центре. Норм?                             Sash, I'll be downtown at around 14:30. Is that OK?
2020/03/12 10:06:58    Alexander Ionov   Egor Popov        Давай в 14:30                                                     Let's do 14:30
2020/03/12 10:07:02    Alexander Ionov   Egor Popov        Охотный ряд                                                       Okhotny Ryad [Hunters' Row]
2020/03/12 10:07:05    Alexander Ionov   Egor Popov        В гостинице                                                       At the hotel
2020/03/12 11:32:18    Alexander Ionov   Egor Popov        Ты где                                                            Where are you
2020/03/12 11:43:29    Alexander Ionov   Egor Popov        Я на месте                                                        I'm here
                                                           Саш, привет! Пришлешь к завтрашнему отчету материалы?             Hi, Sash! Will you send the materials for tomorrow's report? We are submitting [it] tomorrow. I'll
2020/04/29 09:02:39    Egor Popov        Alexander Ionov   Сдаем завтра. Я буду сам писать                                   be writing [it] myself.
2020/04/29 09:03:24    Egor Popov        Alexander Ionov   Если есть, присылай уже сегодня                                   If available, send as early as today.
2020/04/29 09:11:37    Alexander Ionov   Egor Popov        Привет                                                            Hi.
2020/04/29 09:11:42    Alexander Ionov   Egor Popov        Я постараюсь                                                      I'll try.

                                                                                                                             Media/79168527258@s.whatsapp.net/3/8/380f8142-5527-497c-a7db-91e54559008b.webp




2020/04/29 09:11:44    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/3/8/380f8142-5527-497c-a7db-91e54559008b.webp
2020/04/29 21:20:44    Alexander Ionov   Egor Popov        Я днём засяду                                                 I'll get down to it in the afternoon.
2020/04/29 21:20:52    Alexander Ionov   Egor Popov        Сегодня выпустили материков                                   Today we [they] released the continents [Materiki].
2020/04/30 04:34:48    Egor Popov        Alexander Ionov   Саш, мне сегодня до обеда надо сдать готовый документ         Sash, I need to submit the finished document by lunchtime today.
2020/04/30 04:35:00    Egor Popov        Alexander Ionov   У нас нет времени                                             We have no time.
2020/04/30 04:35:13    Egor Popov        Alexander Ionov   Присылай, что есть, я же просил                               Send whatever is available. I did ask for it.
2020/04/30 05:00:15    Alexander Ionov   Egor Popov        А почему сегодня то                                           And why today, anyway?
2020/04/30 05:00:30    Alexander Ionov   Egor Popov        Ты сказал сегодня надо сдать раношетесли он готов             Today you said that it had to be submitted earlier if it was ready.
                                                           Пятница 1 мая, не рабочий день. Сегодня сдаем все за пятницу.
                                                           Я же тебе вчера написал, что сегодня отчет. Просил даже вчера Friday, May 1 is not a workday. Today we are turning everything in for Friday. Didn't I write to
2020/04/30 05:01:32    Egor Popov        Alexander Ionov   выслать, если есть.                                           you yesterday that the report was due today. I even asked to send [it] yesterday if available.
2020/04/30 05:02:00    Alexander Ionov   Egor Popov        Я вчера не готовил , был селектор с Донецков                  I didn't prepare [it] yesterday, there was a teleconference from Donetsks [sic].
2020/04/30 05:02:22    Alexander Ionov   Egor Popov        Кабана уволить хотели                                         They wanted to fire Kaban [PH] [boar].
2020/04/30 05:03:35    Alexander Ionov   Egor Popov        Хочешь напишу сейчас                                          Do you want me to write right now?
2020/04/30 05:03:51    Alexander Ionov   Egor Popov        Чтоб у тебя паники не было                                    In order for you not to panic.
2020/04/30 05:04:01    Alexander Ionov   Egor Popov        Я видимо не понял вчера тебя                                  I must have misunderstood you yesterday.
                                                           Присылай как можно раньше. Можешь не расписывать              Send [it] as soon as possible. You don't have to provide details for complex topics. Jot down some
2020/04/30 05:04:35    Egor Popov        Alexander Ionov   сложные темы. Накидай фигни какой-нибудь                      sort of crap.
2020/04/30 05:04:47    Egor Popov        Alexander Ionov   От нас сейчас не ждут подвигов                                No heroic deeds are expected from us at the moment.
2020/04/30 05:04:56    Alexander Ionov   Egor Popov        Почему                                                        Why?
2020/05/14 12:37:12    Egor Popov        Alexander Ionov   Саш?                                                          Sash?
2020/05/14 20:20:25    Alexander Ionov   Egor Popov        Я утром вышлю документ                                        I'll send [you] the document in the morning.
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                                                                                                                               Media/79168527258@s.whatsapp.net/e/2/e2da2dfd-9b89-4e04-938e-1e825ce17537.webp




2020/05/14 20:20:27    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/e/2/e2da2dfd-9b89-4e04-938e-1e825ce17537.webp

                                                                                                                               Media/79168527258@s.whatsapp.net/1/6/168450ed-cdf1-4353-9661-0c225bb8b807.thumb

                                                                                                                               Uhuru! It's Ekenge in the Office of Chairman Omali Yeshitela
                                                                                                                               Here is a link to his video statement
                                                                                                                               Download [sic] link
                                                                                                                               https://we.tl/t-g3JCWHvIz4
                                                                                                                               Please let me know if you have any problems opening.




                                                           Media/79168527258@s.whatsapp.net/1/6/168450ed-cdf1-4353-
                                                           9661-0c225bb8b807.thumb

                                                           Uhuru! It's Ekenge in the Office of Chairman Omali Yeshitela
                                                           Here is a link to his video statement
                                                           Download link
                                                           https://we.tl/t-g3JCWHvIz4
2020/05/15 05:47:44    Alexander Ionov   Egor Popov        Please let me know if you have any problems opening.

                                                                                                                               Media/79168527258@s.whatsapp.net/c/0/c0d03f6b-7446-472c-88bd-c4142d631bb8.mp4

2020/05/15 05:47:44    Alexander Ionov   Egor Popov                                                                    [Video file - See attached]
                                                           Media/79168527258@s.whatsapp.net/c/0/c0d03f6b-7446-472c-88bd-c4142d631bb8.mp4
2020/05/15 05:59:20    Alexander Ionov   Egor Popov        привет                                                      Hi
2020/05/15 05:59:39    Alexander Ionov   Egor Popov        это полные видеообращения ко дню ДНР                        These are complete video addresses for the Donetsk People's Republic [DNR] Day.
2020/05/15 06:04:19    Egor Popov        Alexander Ionov   Привет! А материал к отчету?                                Hi! How about the material for the report?
2020/05/15 06:05:02    Alexander Ionov   Egor Popov        пишу                                                        I'm writing.
2020/05/15 06:11:08    Egor Popov        Alexander Ionov   Ооочень жду                                                 I can hardly wait.
2020/05/15 06:11:13    Egor Popov        Alexander Ionov   [Emoji(s)]                                                  [Emoji(s)]

                                                           https://www.politnavigator.net/borcy-za-prava-chernokozhikh-v-      https://www.politnavigator.net/borcy-za-prava-chernokozhikh-v-ssha-podderzhali-donbass-
2020/05/15 07:00:00    Alexander Ionov   Egor Popov        ssha-podderzhali-donbass-amerika-terroristicheskaya-strana.html     amerika-terroristicheskaya-strana.html
                                                           Саш, ну что? Ну время! Ты же знаешь! Я уже 1,5 ч. как должен        So what's the deal, Sash? Well, it's time! You know it! I should have been writing for an hour and
2020/05/15 07:34:25    Egor Popov        Alexander Ionov   писать. Документ к 12 ч. сдавать!                                   a half. The document needs to be turned in by 12 o'clock!
2020/05/15 08:28:03    Egor Popov        Alexander Ionov   Саш?                                                                Sash?
2020/05/15 08:35:08    Alexander Ionov   Egor Popov        3EB0D73130181BF43BA1                                                3EB0D73130181BF43BA1
                                                           Мы же в чат телеграмма скидываем это, ты что Удали здесь
2020/05/15 08:36:59    Egor Popov        Alexander Ionov   скорее                                                              We send this via a chat in Telegram. Are you crazy? Delete it from here as soon as possible.
2020/05/15 08:37:21    Alexander Ionov   Egor Popov        Удалил                                                              I've deleted it.
2020/05/15 08:37:29    Alexander Ionov   Egor Popov        Ты переслал?                                                        Have you sent it?

2020/05/15 08:37:52    Egor Popov        Alexander Ionov   Я сохранил себе, все норм Но отправляй в след раз в телегу, ок? I've saved it for myself, everything is OK. But next time send it via Telegram, OK?
2020/05/15 08:38:01    Egor Popov        Alexander Ionov   Спасибо за материал!                                            Thank you for the material!
2020/05/15 08:38:07    Alexander Ionov   Egor Popov        Ок                                                              OK.

2020/05/15 08:43:37    Egor Popov        Alexander Ionov   Пришли мне пожалуйста перевод документа из гостиницы                Please send me the translation of the document from the hotel.
2020/05/15 09:00:08    Alexander Ionov   Egor Popov        Ок                                                                  OK.
2020/05/15 11:10:06    Egor Popov        Alexander Ionov   Слушай, так день образования ДНР 7 апреля                           Listen, April 7 is the day when the DNR was created, isn't it?
2020/05/15 11:10:18    Alexander Ionov   Egor Popov        11 мая день республики                                              May 11 is the Republic Day.
2020/05/15 11:11:09    Egor Popov        Alexander Ionov   Они типо 11 мая празднуют день референдума?                         They sort of celebrate May 11 as Referendum Day?
2020/05/15 11:21:14    Alexander Ionov   Egor Popov        День республики                                                     The Republic Day.
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                                                           Саш, привет! Сегодня-завтра получим средства за месяц. Ты   Hi, Sash! We'll get the funds for the month today or tomorrow. Have you done the translation of
2020/05/18 08:21:39    Egor Popov        Alexander Ionov   сделал перевод бумаги за гостиницу?                         the paper for the hotel?
2020/05/18 08:22:29    Alexander Ionov   Egor Popov        Привет                                                      Hi
2020/05/18 08:22:37    Alexander Ionov   Egor Popov        Отдал Святославу для уточнения                              [I] gave it to Svyatoslav [ICST] for clarification
2020/05/18 08:22:42    Alexander Ionov   Egor Popov        Ещё в пятницу                                               Back on Friday
                                                                                                                       Please remind [him], [I] really need it! All deadlines have already passed. We are inquiring about
2020/05/18 08:23:13    Egor Popov        Alexander Ionov   Напомни плз, очень нужно! Уже все сроки вышли По СПЧ узнаём the Human Rights Council [SPCh]
2020/05/18 08:23:41    Egor Popov        Alexander Ionov   Как что будет, скажу                                        As soon as I hear something, I'll let you know
2020/05/18 08:23:47    Alexander Ionov   Egor Popov        Хорошо                                                      All right
2020/05/18 08:23:49    Alexander Ionov   Egor Popov        Благодарю                                                   I appreciate it
                                                           Поторопи, мне сегодня вечером - край завтра утром нужен
                                                           документ. Не отчитаемся, не дадут на этот месяц, потому что Hurry [him] up. I need the document tonight or tomorrow morning at the latest. If we don't
2020/05/18 08:25:06    Egor Popov        Alexander Ionov   возможно будут вычиты.                                      provide a report, they won't give [it] for this month, because there may be deductions.
2020/05/18 08:25:19    Egor Popov        Alexander Ionov   вычеты* ☺                                                   deductions*☺
2020/05/18 08:25:35    Alexander Ionov   Egor Popov        Вычеты это плохо                                            Deductions are a bad thing
2020/05/18 08:25:38    Alexander Ionov   Egor Popov        Потороплю                                                   I'll hurry [him] up
                                                           Ну да, там же за гостиницу закладывали больше, чем ты по
2020/05/18 08:26:14    Egor Popov        Alexander Ionov   факту потратил.                                             Well, yes, for the hotel, they had allocated more than what you actually spent.
2020/05/18 08:26:32    Alexander Ionov   Egor Popov        Там не большая разница то                                   It's not that much of a difference anyway
2020/05/18 08:26:45    Egor Popov        Alexander Ionov   Ну вот ее                                                   Well, that one
2020/05/18 08:26:45    Alexander Ionov   Egor Popov        Там же ещё суточные                                         There is also a per diem allowance
2020/05/18 08:26:52    Alexander Ionov   Egor Popov        100$?                                                       $100?
2020/05/18 08:26:56    Egor Popov        Alexander Ionov   Суточные все норм                                           The per diem allowance is all good
2020/05/18 08:26:56    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]
2020/05/18 15:16:38    Egor Popov        Alexander Ionov   Твой человек с документом разобрался?                       Has your person sorted out the document?
2020/05/18 15:24:11    Alexander Ionov   Egor Popov        Жду                                                         I'm waiting
2020/05/18 15:24:13    Alexander Ionov   Egor Popov        Он обещал                                                   He promised
2020/05/18 16:17:48    Alexander Ionov   Egor Popov        Добились возвращения красилоаой в Москву                    [We] managed to get Krasilo[v]a back to Moscow

                                                                                                                             Media/79168527258@s.whatsapp.net/9/d/9d060a29-b628-4e82-9584-66d6fe473d73.doc
                                                           Media/79168527258@s.whatsapp.net/9/d/9d060a29-b628-4e82-
                                                           9584-66d6fe473d73.doc                                             The invoice translation

2020/05/18 17:40:27    Alexander Ionov   Egor Popov        Перевод счета                                                     [Document file]
2020/05/18 17:40:38    Alexander Ionov   Egor Popov        Перевод счета                                                     The invoice translation
2020/05/18 17:41:22    Alexander Ionov   Egor Popov        Проценты это прогрессивная шкала налогообложения                  Interest is a progressive scale of taxation
2020/05/18 17:43:30    Egor Popov        Alexander Ionov   Слушай, даже я знаю, что Beverage- это напитки                    Listen, even I know that Beverage means drinks
2020/05/18 17:43:58    Alexander Ionov   Egor Popov        Это не я переводил                                                I wasn't the one who translated it
2020/05/18 17:44:04    Alexander Ionov   Egor Popov        А кто бронировал                                                  But whoever made the reservation
2020/05/18 17:45:21    Alexander Ionov   Egor Popov        Думаю это завтрак                                                 I think it's breakfast
2020/05/18 17:45:23    Egor Popov        Alexander Ionov   Где здесь общая сумма за проживание?                              Where is the total charge for the accommodations here?
2020/05/18 17:45:50    Alexander Ionov   Egor Popov        473 евро                                                          473 euros
2020/05/18 17:46:02    Egor Popov        Alexander Ionov   Ты же сказал 700 потратил                                         But you said you had spent 700
2020/05/18 17:46:10    Alexander Ionov   Egor Popov        Долларов                                                          Dollars
2020/05/18 17:46:19    Alexander Ionov   Egor Popov        Я отдал 700 долларов                                              I paid 700 dollars
2020/05/18 17:46:38    Alexander Ionov   Egor Popov        Прибавь туда завтрак                                              Add breakfast to it
2020/05/18 17:47:22    Alexander Ionov   Egor Popov        И получиться в районе 620 евро                                    And you will get about 620 euros
                                                           700 долл это 641 евро. Если суммировать по таблице твое
2020/05/18 17:47:29    Egor Popov        Alexander Ionov   проживание стоило 393 евро                                        700 doll[ars] is 641 euros. If we sum up the table, your accommodations cost 393 euros
2020/05/18 17:47:54    Alexander Ionov   Egor Popov        Мне на стойке сказала 700 долларов                                At reception she told me 700 dollars
2020/05/18 17:48:02    Alexander Ionov   Egor Popov        Я их и отдал                                                      And that's what I paid
2020/05/18 17:48:27    Alexander Ionov   Egor Popov        Неделю за 393 евро в шерптоне не проживешь                        You cannot stay at the Sherpton [sic] for a week for 393 euros
2020/05/18 17:48:55    Alexander Ionov   Egor Popov        Мой номер со скидкой стоил 100 евро плюс завтрак                  My room, including a discount, cost 100 euros plus breakfast
                                                           89+89+85+130 = 393 проживание                                     89 + 89 + 85 + 130 = 393 accommodations
2020/05/18 17:49:11    Egor Popov        Alexander Ionov   80 - завтрак + питание                                            80 - breakfast + meals
2020/05/18 17:49:36    Alexander Ionov   Egor Popov        85 евро номер не стоит                                            A room doesn't cost 85 euros
2020/05/18 17:49:47    Egor Popov        Alexander Ionov   393+80 = 473                                                      393 + 80 = 473
2020/05/18 17:49:58    Egor Popov        Alexander Ionov   Так у тебя в переводе написано, посмотри                          That's what your translation says. Take a look
2020/05/18 17:50:57    Alexander Ionov   Egor Popov        Сальдо налоговое 132                                              The tax balance is 132
2020/05/18 17:51:04    Alexander Ionov   Egor Popov        Ты кому оставил?                                                  Whom did you give it to?
                                                           Где написано «налоговое» сальдо? 132 это разница дебита и
                                                           кредита. Грубо говоря, тебе бронировали номер внесением           Where does it say "tax" balance? 132 is the difference between the debit and the credit. Roughly
                                                           депозита 605 евро на счет 09.01.2020. Ты прожил на 473. 132       speaking, your room was reserved by making a deposit of 605 euros to your account on
                                                           долг за отелем тому, кто внес. Это и есть сальдо - разница        01/09/2020. You stayed there for 473. The hotel owes 132 to the one who made the deposit.
2020/05/18 17:53:55    Egor Popov        Alexander Ionov   дебита с кредитом. 605-473=132                                    That's what the net balance is - the difference between the debit and the credit. 605 - 473 = 132
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                                                           Из этой бумажки так выходит. Это плохо, придется с тебя
                                                           вычитывать, нам очень не хотелось                                That's according to this paper. That's bad, we'll have to charge you, we really didn't want to do it.
                                                           Я просил тебя взять нормальную выписку. Ты принес какой-то       I asked you to get a normal statement. You brought some sort of receipt, which is giving us a
2020/05/18 17:55:18    Egor Popov        Alexander Ionov   чек, с котором теперь еб*мся.                                    f*cking headache.
2020/05/18 17:55:31    Alexander Ionov   Egor Popov        Плашек вносил депозит                                            Plashek [PH] made the deposit
2020/05/18 17:55:41    Alexander Ionov   Egor Popov        Дабы забронировать номер                                         In order to reserve a room
2020/05/18 17:55:52    Alexander Ionov   Egor Popov        Всего потрачено 605 евро                                         A total of 605 euros was spent
2020/05/18 17:56:09    Alexander Ionov   Egor Popov        Если в бухгалтерии тупые сидят                                   If the accounting department is full of idiots,
2020/05/18 17:56:15    Alexander Ionov   Egor Popov        То я тут не виноват                                              that's not my fault

                                                           Да все равно, кто вносил. Ты на рецепции после выписки мог       It doesn't matter who made the deposit. At reception, you could have gotten a certificate after
2020/05/18 17:56:16    Egor Popov        Alexander Ionov   взять справку. Там пишут 1 цифру - стоимость проживания. Все.    the statement. They write one number there - the cost of staying at the hotel. That's it.
2020/05/18 17:56:29    Alexander Ionov   Egor Popov        Вообщем то мне все равно                                         Actually, I don't care
2020/05/18 17:56:35    Alexander Ionov   Egor Popov        Я с июня ухожу                                                   I'm leaving as of June
2020/05/18 17:56:40    Alexander Ionov   Egor Popov        Поэтому вычитайте                                                Therefore, deduct
2020/05/18 17:56:45    Alexander Ionov   Egor Popov        Сколько хотите                                                   As much as you want
2020/05/18 17:56:52    Alexander Ionov   Egor Popov        Это ожидаемо                                                     It's expected
2020/05/18 17:57:13    Egor Popov        Alexander Ionov   Вот ты накосячил, а виноваты мы, да?))                           So you are the one who screwed up, but we are to blame for it, right?))
2020/05/18 17:57:32    Alexander Ionov   Egor Popov        Я нигде и никогда не косячить                                    I have never to screw up [sic] anywhere
2020/05/18 17:57:38    Alexander Ionov   Egor Popov        Не косячил                                                       [I] have never screwed up
2020/05/18 17:57:52    Alexander Ionov   Egor Popov        То я работаю плохо и должен бесплатно бегать везде               Either I work poorly and have to run everywhere for free
2020/05/18 17:58:00    Alexander Ionov   Egor Popov        То чем не тот                                                    Or why [am I not] the right one?
                                                           Слушай, ну из этого документа выходит так, как я описал. Ты не
2020/05/18 17:58:07    Egor Popov        Alexander Ionov   согласен?                                                        Listen, according to this document, it turns out the way I've described. Do you disagree?

2020/05/18 17:58:35    Alexander Ionov   Egor Popov        А то что без дебета нельзя забронировать отель это всем похер    And no one gives a fuck about the fact that a hotel can't be booked without any debit
2020/05/18 17:58:47    Alexander Ionov   Egor Popov        Так как те кто мне выдаёт даже в Берлине не был                  Since those who are issuing to me haven't even been to Berlin
                                                           Ну, все правильно. Дебит внесли, ты прожил на 473, из которых
                                                           чистая стоимость проживания без еды 393. Вот эту сумму и         Well, everything is correct. Some debit was deposited, you lived for 473, out of which the net
                                                           компенсируем. Так следует из документа, который ты               cost of the accommodations without meals is 393. That's the amount we'll compensate. It's
2020/05/18 18:00:21    Egor Popov        Alexander Ionov   предоставил. Я в чем не прав?                                    based on the document you have provided. Where am I wrong?
2020/05/18 18:01:21    Alexander Ionov   Egor Popov        Я отдал 700 долларов                                             I paid 700 dollars
2020/05/18 18:01:32    Alexander Ionov   Egor Popov        Завтрак отдельно оплачивался                                     Breakfast was paid for separately
2020/05/18 18:01:38    Alexander Ionov   Egor Popov        Если он не всходит то ок                                         If it doesn't come up [sic], it’s OK
                                                           Полный бардак спрашивать меня о поездке которая была 5
2020/05/18 18:01:59    Alexander Ionov   Egor Popov        месяцев назад                                                    It's a complete mess asking me about the trip that took place five months ago
2020/05/18 18:02:42    Alexander Ionov   Egor Popov        Поэтому хочешь вычитай                                           So deduct if you want to
2020/05/18 18:02:47    Alexander Ionov   Egor Popov        Хоть все заберите                                                You can take everything if you like
2020/05/18 18:02:52    Alexander Ionov   Egor Popov        Мне уже надоело                                                  I'm already sick and tired of it
                                                           Не надо меня шантажировать своим уходом. Если ты что-то          Don't blackmail me by saying you will leave. If you have decided to do something, announce it to
2020/05/18 18:03:06    Egor Popov        Alexander Ionov   решил, объяви это АБ.                                            AB.
2020/05/18 18:03:18    Alexander Ionov   Egor Popov        Хорошо я завтра ему наберу                                       All right. I'll call him tomorrow
2020/05/18 18:03:28    Alexander Ionov   Egor Popov        Я никого не шантажирую                                           I'm not blackmailing anyone

                                                           И никогда этого не делал. Если я плохо работаю значит ещё не     Nor have I ever done so. If I work badly, it means I haven't grown to your level yet. Perhaps, you
2020/05/18 18:04:03    Alexander Ionov   Egor Popov        дорос до вашего уровня. Возможно нужны люди лучше.               need better people.
                                                           У тебя любые аргументы по любым вопросам уже сводятся к
2020/05/18 18:04:11    Egor Popov        Alexander Ionov   этому. Это - шантаж.                                             Any arguments of yours on any questions come down to this. That's blackmail.
2020/05/18 18:04:16    Alexander Ionov   Egor Popov        Поэтому никакого шантажа тут нет                                 Therefore, there is no blackmail of any sort here
2020/05/18 18:04:24    Alexander Ionov   Egor Popov        Подожди                                                          Wait
2020/05/18 18:04:33    Alexander Ionov   Egor Popov        А разве мы вопрос закрывшим                                      But have we the closed question [sic]?
2020/05/18 18:04:37    Alexander Ionov   Egor Popov        Закрыли?                                                         Have we closed it?
2020/05/18 18:04:50    Egor Popov        Alexander Ionov   Какой?                                                           Which one?
2020/05/18 18:04:51    Alexander Ionov   Egor Popov        Ты мне сказал что я плохо работаю и что вопрос открыт            You told me that I worked badly and that the question was open
2020/05/18 18:05:05    Alexander Ionov   Egor Popov        Разве что то подменялось?                                        Has something changed?
2020/05/18 18:05:17    Alexander Ionov   Egor Popov        Сейчас возник вопрос с финансами                                 Now a question has come up regarding the funds
2020/05/18 18:05:29    Alexander Ionov   Egor Popov        Которые были выделены 5 месяцев назад                            that were appropriated five months ago
2020/05/18 18:05:40    Egor Popov        Alexander Ionov   Ну, да, закрываем сейчас.                                        Well, yes, we are closing [it] now.

2020/05/18 18:05:53    Alexander Ionov   Egor Popov        Я тебе и сказал вычитай все равно у нас глобально расхождение So I told you, "Deduct"; we are in total disagreement, anyway
2020/05/18 18:06:00    Alexander Ionov   Egor Popov        Поэтому шантажа нет никакого                                  Therefore, there is no blackmail of any sort
2020/05/18 18:06:04    Egor Popov        Alexander Ionov   Какое расхождение?                                            What disagreement?
2020/05/18 18:06:10    Alexander Ionov   Egor Popov        По работе                                                     Work-related
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                                                           Какое расхождение? Я тебе сказал, что в последнее время ты
                                                           стал хуже готовить документы и позже их присылать. В неделю
                                                           стал меньше времени уделять нашей работе. По сути, только       What disagreement? I told you that lately, you had gotten worse at preparing documents and
                                                           утро пятницы.                                                   had been sending them later. You started spending less time on our work in a week. Basically,
                                                           Потом просил перевести документ, в котором ничего не            only Friday morning.
                                                           понятно. Да, закрываем сейчас. Потому что не работала           Then [I] asked [you] to translate a document, in which nothing is clear. Yes, we are closing [it]
                                                           бухгалтерия и секретариат. Все были на карантине и по личным    now. Because the accounting department and secretariat were not working. Everyone was in
2020/05/18 18:09:06    Egor Popov        Alexander Ionov   обстоятельствам. Что не так?                                    quarantine and away for personal reasons. What's not right?
2020/05/18 18:09:50    Alexander Ionov   Egor Popov        Нам это обязательно обсуждать в Вотсапе                         Do we really have to discuss it on WhatsApp
2020/05/18 18:09:51    Alexander Ionov   Egor Popov        ?                                                               ?
                                                           Ты начал угрожать уходом, тем, что мы тебя не ценим и мало      You started threatening to leave, since we don't appreciate you and underpay you. A normal,
2020/05/18 18:09:57    Egor Popov        Alexander Ionov   платим. Нормальный содержательный разговор                      meaningful conversation
                                                           Не, все, заканчиваем разговор. Согласен. Ждем вашей беседы
2020/05/18 18:10:34    Egor Popov        Alexander Ionov   завтра с АБ.                                                    Nah, that's it, let's finish this conversation. I agree. Let's wait for you to talk to AB tomorrow.
                                                           Я по работе тебе все объяснил. На неё я трачу больше времени,
                                                           а утро пятницы на подведение итогов. Ты со мной не согласен,    With regard to work, I've explained everything to you. I spend more time on it, and Friday
2020/05/18 18:11:05    Alexander Ionov   Egor Popov        твоё право.                                                     mornings - on progress review. You disagree with me, that's your right.
2020/05/18 18:11:22    Alexander Ionov   Egor Popov        Мне надо ещё работать                                           I still need to work
2020/05/18 18:11:37    Alexander Ionov   Egor Popov        Я не Рамзан мне Аллах денег не даёт                             I'm not Ramzan. Allah doesn't give me any money
                                                           Я все зарабатываю сам и никогда у вас помощи никакой в своей
                                                           работе не просил.                                               I earn it all on my own, and I've never asked you for any help with my work.
2020/05/18 18:12:08    Alexander Ionov   Egor Popov        Доброго вечера                                                  Good evening
2020/05/18 18:14:11    Egor Popov        Alexander Ionov   Доброго                                                         Good [evening]



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2020/05/18 18:14:24    Alexander Ionov   Egor Popov
2020/05/19 07:32:04    Alexander Ionov   Egor Popov        Привет                                                          Hi
2020/05/19 07:32:25    Alexander Ionov   Egor Popov        АБ сказал нам лечить ПМС и сказал чтоб я его не трогал          AB said that we should get treated for PMS and told me not to bother him
2020/05/19 07:32:33    Alexander Ionov   Egor Popov        Передаю тебе его слова                                          I'm passing his words on to you
2020/05/19 07:32:53    Egor Popov        Alexander Ionov   [Emoji(s)]                                                      [Emoji(s)]
2020/05/19 07:32:57    Egor Popov        Alexander Ionov   Привет!                                                         Hi!
2020/05/19 07:33:27    Egor Popov        Alexander Ionov   На сколько я знаю, ПМС не лечится))                             As far as I know, there is no treatment for PMS ))

                                                           Я до сих пор не понимаю что такого случилось. Потому что я      I still don't understand what has happened. Because I call AB the other week and ask how things
                                                           звоню АБ на неделе спрашиваю как дела и все от ок он говорит    are and if everything is OK, and he says everything is fucking awesome. Then you start being
2020/05/19 07:33:45    Alexander Ionov   Egor Popov        все заебись. Потом ты начинаешь вредность врубать               difficult

                                                                                                                           Media/79168527258@s.whatsapp.net/0/5/0587a791-e690-4f8b-89aa-4e9bd9399d47.webp




2020/05/19 07:33:48    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/0/5/0587a791-e690-4f8b-89aa-4e9bd9399d47.webp
2020/05/19 07:34:12    Alexander Ionov   Egor Popov        Мы нормально работаем                                       We work fine
2020/05/19 07:34:21    Alexander Ionov   Egor Popov        Каждую неделю на связи с чурками                            Every week we are in touch with the chinks
                                                           От них куча спама каждый день с приглашениями в
2020/05/19 07:34:44    Alexander Ionov   Egor Popov        конференции И так далее                                     There is a bunch of spam from them every day, with invitations to conferences etc.
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2020/05/19 07:35:05    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/7/3/730e4e6f-0ce1-4eb9-974d-a504148cde5c.jpg
                                                                                                                       Media/79168527258@s.whatsapp.net/8/c/8caaf7b1-5136-4fcc-882a-33aa388eda34.jpg




2020/05/19 07:38:31    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/8/c/8caaf7b1-5136-4fcc-882a-33aa388eda34.jpg
2020/05/19 07:39:04    Egor Popov        Alexander Ionov   Ну да, все норм                                              Well, yes. Everything is OK
2020/05/19 07:39:21    Egor Popov        Alexander Ionov   С чего ты взял, что у нас проблемы?                          Where did you get the idea that we had problems?
2020/05/19 07:39:39    Alexander Ionov   Egor Popov        У Вас проблем нет                                            You have no problems
2020/05/19 07:39:48    Alexander Ionov   Egor Popov        Проблемы у вас с работой со мной                             You have a problem working with me
2020/05/19 07:39:53    Alexander Ionov   Egor Popov        Как я понял                                                  As I understand
2020/05/19 07:40:01    Alexander Ionov   Egor Popov        А я вижу что проблем этих нет                                But as I see it, there are no such problems
2020/05/19 07:40:09    Alexander Ionov   Egor Popov        Поэтому я и предложил уйти                                   That's why I offered to leave
                                                           Потому что каждый час и день я не готов вместо работы сидеть Because every hour and [every] day, I'm not willing to sit and bust my fucking ass on public topics
2020/05/19 07:40:38    Alexander Ionov   Egor Popov        и хуячить общественные темы                                  instead of working.
2020/05/19 07:41:01    Alexander Ionov   Egor Popov        Считаю что достаточно уделяю времени                         I think I'm spending enough time
                                                           Был бы 37 год ты спокойно бы меня расстрелял а сейчас
2020/05/19 07:41:23    Alexander Ionov   Egor Popov        демократия                                                   If it were [19]37, you'd easily shoot me, but we have democracy now
                                                           Ну, хорошо, если так Это здо’рово. Я тебе сказал, что начал
2020/05/19 07:41:46    Egor Popov        Alexander Ionov   замечать.                                                    Well, all right, if that's the case, it's great. I told you what I had started noticing.
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2020/05/19 07:42:09    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/b/9/b9ec6135-6f88-4d50-9a7d-03034ea83c31.jpg
                                                                                                                       Media/79168527258@s.whatsapp.net/3/2/325ead9a-f1cf-4196-ae61-dde5b2b76fa5.jpg




2020/05/19 07:43:44    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/3/2/325ead9a-f1cf-4196-ae61-dde5b2b76fa5.jpg
2020/05/19 07:44:21    Egor Popov        Alexander Ionov   Это не наша тема, Саш♂                                      That's not our topic, Sash♂
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2020/05/19 07:44:25    Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/4/5/45b966fd-7da8-4b9a-80cb-748c563fd072.jpg
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2020/05/19 07:44:30    Alexander Ionov   Egor Popov   Media/79168527258@s.whatsapp.net/9/c/9ca85ffe-8add-4588-867a-20e9b29c99fa.jpg
2020/05/19 07:44:48    Alexander Ionov   Egor Popov   Все в работе                                                 Everyone is working
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2020/05/19 07:45:24    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/e/9/e9257009-de3f-4476-ada3-2d3e736fb8fb.jpg
2020/05/19 07:45:27    Egor Popov        Alexander Ionov   Хорошо-хорошо Надеюсь, я ошибался!                          All right, all right. I hope I was wrong!

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2020/05/19 07:45:30    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/1/4/146be99b-5fa0-4d6d-be98-91e96e22ecdc.webp
                                                                                                                            Media/79168527258@s.whatsapp.net/b/9/b9da5a87-7657-4796-86fc-be2b8b7365b7.jpg




2020/05/19 07:45:53    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/b/9/b9da5a87-7657-4796-86fc-be2b8b7365b7.jpg
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2020/05/19 07:46:04    Alexander Ionov   Egor Popov        Все присылают                                                    Everyone is sending [to me]
2020/05/19 07:46:23    Alexander Ionov   Egor Popov        Ещё и звонят дичь толкают всякую часа в два ночи                 Also they are calling and giving [me] all kinds of crap at two in the morning
2020/05/19 07:46:29    Alexander Ionov   Egor Popov        Особенно сара или Джо                                            Especially Sara or Joe
2020/05/19 07:46:41    Alexander Ionov   Egor Popov        Когда гонят на да Калифорния                                     When they are railing at Yes California

                                                           Да-да, вижу Не сбавляй темпы. А то присылаешь документы
                                                           поздно, не расписываешь красиво реально хорошие                  Yes, yes, I see. Don't slow down. Because you are sending documents late, you aren't describing
                                                           мероприятия. Складывается другое впечатление. И 50 к,            really good events in glowing terms. A different impression is being formed. And the 50k,
                                                           которые вроде договаривались, что ты будешь использовать         which I thought we agreed you'd be using to support our "colleagues"-- is it going
2020/05/19 07:50:56    Egor Popov        Alexander Ionov   для поддержки наших «коллег». Они «туда» идут?)                  "there"?)
2020/05/19 07:51:42    Alexander Ionov   Egor Popov        К сожалению                                                      Unfortunately
2020/05/19 07:51:47    Alexander Ionov   Egor Popov        Туда идёт больше                                                 More is going there
2020/05/19 07:52:02    Alexander Ionov   Egor Popov        Это слишком маловато                                             It's too little
2020/05/19 07:55:12    Egor Popov        Alexander Ionov   Хорошо, вопросов нет                                             All right, there are no questions
2020/05/19 07:55:18    Egor Popov        Alexander Ionov   [Emoji(s)]                                                       [Emoji(s)]

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2020/05/19 07:57:14    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/c/c/cc52dac2-4478-4181-a44e-53d24f8129b1.webp

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2020/05/19 07:57:16    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/4/b/4bfdca9e-d4df-4ba6-ab88-d75a58602203.webp
                                                           Можешь уже сегодня вечером прислать материал к отчету?
2020/05/21 06:43:44    Egor Popov        Alexander Ionov   Завтра уже будет поздно.                                    Can you send the material for the report as early as tonight? Tomorrow will already be too late.
2020/05/21 06:43:57    Alexander Ionov   Egor Popov        Ок                                                          OK

2020/05/22 08:09:34    Egor Popov        Alexander Ionov   Почему империализм опять не работает? Он очень нужен☝            Why is imperialism not working again? We really need it ☝
2020/05/22 14:14:59    Alexander Ionov   Egor Popov        привет еще раз                                                   hi again
2020/05/22 14:15:05    Alexander Ionov   Egor Popov        в понедельник приеду)                                            I'll come over on Monday)
2020/05/22 14:16:25    Egor Popov        Alexander Ionov   Ок☺                                                              OK ☺
2020/05/25 07:02:16    Egor Popov        Alexander Ionov   Привет! Приедешь сегодня?                                        Hi! Will you come over today?
2020/05/25 11:18:27    Alexander Ionov   Egor Popov        Привет                                                           Hi
2020/05/25 11:18:37    Alexander Ionov   Egor Popov        До скольки можно?                                                How late can I [come]?
2020/05/25 11:19:37    Egor Popov        Alexander Ionov   Давай до 17 ч. Я потом уеду                                      Let's do it before 17:00. I'll leave after that
2020/05/25 11:25:58    Alexander Ionov   Egor Popov        я приеду через час примерно тогда                                In that case, I'll be there in about an hour
2020/05/25 11:26:16    Egor Popov        Alexander Ionov   [Emoji(s)]                                                       [Emoji(s)]
2020/05/25 11:26:41    Alexander Ionov   Egor Popov        Меня друг подкинет                                               My friend will give me a ride

                                                           А где мы с тобой поговорим? Мне от тебя еще один документ        But where shall we talk? I need one more document from you. Where will you be writing?
2020/05/25 11:30:25    Egor Popov        Alexander Ionov   нужен. Где ты будешь писать? В е вокруг закрыто.                 Everything is closed around there.
                                                           Друг будет смотреть, как мы с тобой около «офиса» общаемся?
2020/05/25 11:30:58    Egor Popov        Alexander Ionov   Не, не надо так.                                                 The friend will watch us talking by the 'office'? No, that doesn't work.

2020/05/25 11:31:17    Egor Popov        Alexander Ionov   Приезжай на личной. Если не сегодня, то завтра. Куда спешить? Come over in your own [car]. If not today, then tomorrow. Why hurry?
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2020/05/25 11:31:39    Egor Popov        Alexander Ionov   Можешь вообще на сл. неделе подъехать. За 2 мес. заберешь       You can even come over next week. You have two months to pick it up
2020/05/25 11:32:17    Alexander Ionov   Egor Popov        Не не                                                           Nah, nah
2020/05/25 11:32:23    Alexander Ionov   Egor Popov        Отойдём                                                         We'll step away
2020/05/25 11:32:28    Alexander Ionov   Egor Popov        Я уже выехал                                                    I have already left
2020/05/25 11:32:33    Alexander Ionov   Egor Popov        Он встанет                                                      He will park
2020/05/25 11:32:37    Alexander Ionov   Egor Popov        Я дорого перейду                                                I will cross the road
2020/05/25 11:33:00    Egor Popov        Alexander Ionov   ♂                                                               ♂
                                                                                                                           Media/79168527258@s.whatsapp.net/b/c/bcd86785-6cbb-46cf-933c-82682ba8afb7.jpg




2020/05/25 12:32:48    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/b/c/bcd86785-6cbb-46cf-933c-82682ba8afb7.jpg
2020/05/25 12:34:29    Egor Popov        Alexander Ionov   Встречаемся вот тут в 15:50. Успеешь?                       Let's meet right here at 15:50. Will you make it?

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2020/05/25 12:34:35    Egor Popov        Alexander Ionov   Media/79168527258@s.whatsapp.net/8/2/82e24723-20da-47cb-ade3-c6303d6f84b0.jpg
2020/05/25 12:35:17    Egor Popov        Alexander Ionov   Проход вот так                                             You can enter like this
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2020/05/25 12:35:23    Egor Popov        Alexander Ionov   Media/79168527258@s.whatsapp.net/4/2/42aa8c99-57e8-4de1-832c-b0dd508c247b.jpg
2020/05/25 12:35:43    Alexander Ionov   Egor Popov        Да                                                          Yes
2020/05/25 12:35:51    Alexander Ionov   Egor Popov        Я уже тут почти                                             I'm already almost here
2020/05/25 12:37:10    Alexander Ionov   Egor Popov        Вот это карта сокровищ                                      That's a treasure map
2020/05/25 12:37:13    Alexander Ionov   Egor Popov        [Emoji(s)]                                                  [Emoji(s)]

                                                                                                                            Media/79168527258@s.whatsapp.net/c/e/ce48ce53-a70c-46ff-8296-55dcabff89a9.webp




2020/05/25 12:37:25    Egor Popov        Alexander Ionov   Media/79168527258@s.whatsapp.net/c/e/ce48ce53-a70c-46ff-8296-55dcabff89a9.webp
2020/05/25 12:42:24    Egor Popov        Alexander Ionov   Ты дошел до нашей башни?                                     Have you reached our tower?
2020/05/25 12:42:35    Alexander Ionov   Egor Popov        Почти                                                        Almost
2020/05/25 12:42:44    Alexander Ionov   Egor Popov        Проходная                                                    The security checkpoint
2020/05/25 13:02:24    Alexander Ionov   Egor Popov        Я на месте                                                   I'm here
2020/05/25 13:02:45    Egor Popov        Alexander Ionov   Бегу Там свободно?                                           I'm running. Is it available there?
2020/05/25 13:02:52    Alexander Ionov   Egor Popov        Да                                                           Yes
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                                                                                                                            Media/79168527258@s.whatsapp.net/3/a/3a63f232-bdc6-4e8f-922a-ae2311aa6904.jpg




2020/05/25 13:02:57    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/3/a/3a63f232-bdc6-4e8f-922a-ae2311aa6904.jpg
2020/05/25 13:04:41    Egor Popov        Alexander Ionov   Ну прелесть! Какое красивое место☺                          How delighful! What a beautiful spot☺
2020/05/25 13:06:34    Egor Popov        Alexander Ionov   Тебе понравились уточки?                                    Did you like the duckies?
2020/05/25 13:06:57    Alexander Ionov   Egor Popov        Не издевайся                                                Stop teasing me
2020/06/07 10:18:16    Alexander Ionov   Egor Popov        У меня крутые новости                                       I have some awesome news
2020/06/07 10:18:24    Alexander Ionov   Egor Popov        Проведи ночью крупную акцию                                 Carry out a big campaign at night

                                                                                                                            Media/79168527258@s.whatsapp.net/3/f/3fe5e628-2b47-49fa-af41-2ad554212afc.webp




2020/06/07 10:18:26    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/3/f/3fe5e628-2b47-49fa-af41-2ad554212afc.webp
2020/06/07 10:42:03    Alexander Ionov   Egor Popov        Американцы про меня пишут                                     The Americans are writing about me
2020/06/07 10:42:12    Alexander Ionov   Egor Popov        Говорят фото выставляет свои в фейсбук                        They are saying [he] is posting his photos on Facebook
2020/06/07 10:42:17    Alexander Ionov   Egor Popov        Тварь такая                                                   What an asshole
2020/06/07 10:44:01    Egor Popov        Alexander Ionov   Кто пишет? Какие фото?                                        Who is writing? What photos?
2020/06/07 10:47:04    Alexander Ionov   Egor Popov        Институт демократии                                           The Institute of Democracy
2020/06/07 10:47:10    Alexander Ionov   Egor Popov        И cnn                                                         And CNN
2020/06/07 10:47:18    Alexander Ionov   Egor Popov        Типа какого хера фото постит                                  It's like, why the fuck is he posting photos
2020/06/07 10:48:51    Egor Popov        Alexander Ionov   Дай ссылку                                                    Give [me] the link
                                                           https://igtds.org/2020/06/u-s-protests-are-backed-by-russian- https://igtds.org/2020/06/u-s-protests-are-backed-by-russian-pressure-group-cnn-disclosed-in-
2020/06/07 10:50:33    Alexander Ionov   Egor Popov        pressure-group-cnn-disclosed-in-ghana/                        ghana/
2020/06/07 10:50:38    Alexander Ionov   Egor Popov        Там ничего интересного                                        There is nothing interesting there
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2020/06/07 10:50:39    Alexander Ionov   Egor Popov        Media/79168527258@s.whatsapp.net/3/7/3703cd9b-9fdb-4722-85e7-085b8e5a8323.webp
2020/06/07 10:50:55    Alexander Ionov   Egor Popov        Посмотрели на мой пост в интернете                          [They] looked at my post on the Internet
2020/06/07 10:51:03    Alexander Ionov   Egor Popov        И на моих друзей из Ухуру                                   And at my friends from Uhuru
2020/06/07 10:51:15    Alexander Ionov   Egor Popov        И подтвердили что мы приводим проверенные данные            And confirmed that we were quoting verified data
                                                           Саш, нужен список всех чернокожих движений и альянсов, с
2020/06/11 06:18:29    Egor Popov        Alexander Ionov   которыми работали                                           Sash, we need a list of all the black movements and alliances with which [we] worked
2020/06/11 06:28:31    Egor Popov        Alexander Ionov   [Emoji(s)]                                                  [Emoji(s)]
2020/06/11 06:48:21    Alexander Ionov   Egor Popov        Через час                                                   In an hour
2020/06/11 06:48:24    Alexander Ionov   Egor Popov        Я сплю                                                      I'm sleeping
2020/06/11 07:00:18    Egor Popov        Alexander Ionov   Набери как проснешься. Есть вопросы                         Call [me] when you wake up. I have some questions
2020/06/11 09:39:31    Alexander Ionov   Egor Popov        А я звонил                                                  I did call
2020/06/11 09:39:34    Alexander Ionov   Egor Popov        Между прочим                                                By the way
                                                           Видел Пришли список черных организаций. Штук 10. Просто     I saw. Send me the list of the black organizations. About 10 items. Just jot down the names. I
2020/06/11 10:26:01    Egor Popov        Alexander Ionov   названия накидай. Нужно прям сейчас                         need it right now
2020/06/11 11:12:00    Alexander Ionov   Egor Popov        Посмотри отчёт предыдущий                                   Check the previous report
2020/06/11 11:12:07    Alexander Ionov   Egor Popov        Там список 20 организаций                                   There is a list of 20 organizations there
2020/06/11 11:12:35    Egor Popov        Alexander Ionov   Да где, я все перерыл                                       But where, I've rummaged through everything
                                                           Uhuru                                                       Uhuru
                                                           African women workers                                       African women workers
                                                           IMDUM                                                       IMDUM
                                                           Black Hammer                                                Black Hammer
                                                           Black puma                                                  Black puma
                                                           Движение Мумии Абдель Джамала                               Mumia Abu-Jamal's Movement
2020/06/11 11:14:05    Alexander Ionov   Egor Popov        Chicago black coalition                                     Chicago black coalition
2020/06/11 11:14:16    Alexander Ionov   Egor Popov        CPCI                                                        CPCI
2020/06/11 11:14:26    Alexander Ionov   Egor Popov        Вот                                                         Here you go
2020/06/11 11:14:36    Alexander Ionov   Egor Popov        И тогда открой отчёт позапрошлый                            And then open the second-to-last report
2020/06/11 11:14:40    Alexander Ionov   Egor Popov        Последнюю акцию                                             The last campaign
2020/06/11 11:14:45    Alexander Ionov   Egor Popov        Там организаторы!                                           There are organizers there!
2020/06/11 11:14:48    Alexander Ionov   Egor Popov        1000000%                                                    1000000%
2020/06/11 11:14:53    Alexander Ionov   Egor Popov        Посмотри                                                    Check it out
2020/06/11 11:15:00    Alexander Ionov   Egor Popov        Я из не помню на изучив                                     I don't remember them by heart
2020/06/11 11:15:09    Alexander Ionov   Egor Popov        Там даже еврейские организации                              There are even Jewish organizations there
